Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 1 of 68 PAGEID #: 1481




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 KEVIN D. HARDWICK,                                    Case No. 2:18-cv-1185
               Plaintiff,                              Judge Edmund A. Sargus, Jr.
 v.
                                                       Chief Magistrate Judge Elizabeth
                                                       A. Preston Deavers
 3M COMPANY, et al.,
               Defendants.                             ORAL ARGUMENT REQUESTED


                   PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

        Plaintiff Kevin Hardwick moves for an order certifying a nationwide class under Federal

 Rule of Civil Procedure 23(b)(2) and to appoint class counsel under Rule 23(a). Mr. Hardwick

 asks to represent a class of “any individual residing within the United States at the time of class

 certification for one year or more since 1977 with 0.05 parts per trillion (ppt) or more of PFOA

 and at least 0.05 ppt or more of any other PFAS in their blood serum.” Mr. Hardwick satisfies

 all prerequisites for certification under Rule 23(b)(2), including numerosity, commonality,

 typicality, and adequacy under Rule 23(a). Rule 23(b)(2) class certification is also appropriate

 because Defendants’ conduct affected the entire class equally (they marketed, manufactured, and

 released PFAS—causing widespread contamination in all the class members); which makes Mr.

 Hardwick’s requested injunctive relief (setting up a program for study and testing/medical

 monitoring) appropriate for the whole class.

        Mr. Hardwick also moves the Court to appoint the undersigned attorneys at the law firms

 of Taft Stettinius & Hollister LLP, Douglas & London, PC, and Levin Papantonio PA, as class

 counsel. A Memorandum in Support is attached.
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 2 of 68 PAGEID #: 1482




                                            Respectfully submitted,

                                            /s/ David J. Butler
                                            David J. Butler (0068455), Trial Attorney
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            65 East State Street, Suite 1000
                                            Columbus, Ohio 43215
                                            Telephone: (614) 221-2838
                                            Facsimile: (614) 221-2007
                                            dbutler@taftlaw.com

                                            Robert A. Bilott (0046854)
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            425 Walnut Street, Suite 1800
                                            Cincinnati, OH 45202-3957
                                            Telephone: (513) 381-2838
                                            Facsimile: (513) 381-0205
                                            bilott@taftlaw.com

                                            Gary J. Douglas (pro hac vice pending)
                                            DOUGLAS & LONDON, PC
                                            59 Maiden Lane, 6th Floor
                                            New York, NY 10038
                                            Telephone: (212) 566-7500
                                            Facsimile: (212) 566 7501
                                            gdouglas@douglasandlondon.com

                                            Ned McWilliams (pro hac vice)
                                            LEVIN PAPANTONIO P.A.
                                            316 South Baylen Street
                                            Pensacola, FL 32502
                                            Telephone: (850) 435-7138
                                            nmcwilliams@levinlaw.com

                                            Attorneys for Plaintiff Kevin Hardwick
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 3 of 68 PAGEID #: 1483




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 KEVIN D. HARDWICK,                         Case No. 2:18-cv-1185
             Plaintiff,                     Judge Edmund A. Sargus, Jr.
 v.
                                            Chief Magistrate Judge Elizabeth
                                            A. Preston Deavers
 3M COMPANY, et al.,
             Defendants.                    ORAL ARGUMENT REQUESTED



                    PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                       MOTION FOR CLASS CERTIFICATION
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 4 of 68 PAGEID #: 1484




                                     TABLE OF CONTENTS AND SUMMARY
                                    PURSUANT TO S.D. OHIO CIV. R. 7.2(a)(3)
                                                                                                                                        Page

 TABLE OF AUTHORITIES ........................................................................................................v

 INTRODUCTION..........................................................................................................................1

 FACTUAL BACKGROUND ........................................................................................................4

      A.      Defendants Contaminated Mr. Hardwick’s Blood and
              Body with PFAS ...............................................................................................................4

      B.     Defendants Have Known for Decades about the Dangers of PFAS .................................6

      C.      Faced with Regulatory Scrutiny and Increased Public Knowledge
              about PFAS, Defendants Misled Regulators and Denied the
              Dangers of their Chemicals .............................................................................................10

      D.      The Scientific Community Recognizes the Immediate Need for
              More Studies ...................................................................................................................15

      E.      Policymakers Agree that PFAS Represents a Significant Public
              Health Problem ...............................................................................................................18

      F.      A Nationwide Approach is needed to Study the Health Effects of
              PFAS and to Address PFAS Contamination...................................................................22

      G.      Defendants Have Impeded Efforts to Regulate and Study
              PFAS at the Federal Level ..............................................................................................29

 PROCEDURAL HISTORY ........................................................................................................32

 ARGUMENT ...............................................................................................................................34

 I.   The Proposed Class Meets the Requirements of Rule 23 (a) .............................................36

 Mr. Hardwick properly defines his proposed class to include “any individual residing
 within the United States at the time of class certification for one year or more since 1977
 with 0.05 parts per trillion (ppt) of PFOA and at least 0.05 ppt of any other PFAS in their
 blood serum.” This proposed class asks to pursue only common injunctive and equitable
 relief in the form of medical and scientific studies, testing, and analysis.

      A.      The Class is So Numerous that Joinder of
              All Members is Impracticable......................................................................................37

 Mr. Hardwick’s proposed class easily meets the numerosity requirement. As Defendants’
 own blood testing confirms, nearly every American’s blood and/or body is contaminated
 with PFAS. Thus, sheer numbers alone satisfy Rule 23(a)(1).


                                                                       ii
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 5 of 68 PAGEID #: 1485




     B.   There are Questions of Law and Fact Common to the Class ....................................38

 Mr. Hardwick asks the Court to answer many common legal and factual questions that
 focus on Defendants’ conduct, such as whether Defendants owed a legal duty to plaintiff
 and the class, and whether Defendants caused plaintiff and the proposed class to suffer a
 common injury. Resolving these questions are critical to the class—and the answers to
 these common questions will apply uniformly across the entire proposed class to resolve
 class-wide issues “in one stroke.” These common questions of law and fact are also
 consistent with similar questions about PFAS contamination that courts around the country
 have certified to proceed on a class-wide basis

     C.    Mr. Hardwick’s Claims are Typical of the Class Claims ..........................................44

 Mr. Hardwick’s claims are typical of the proposed class because they arise from the same
 tortious conduct: Defendants’ marketing, manufacturing, and releasing of PFAS; causing
 widespread contamination. And Defendants treated Mr. Hardwick no different than every
 other potential class member—Defendants contaminated Americans without distinction.
 Thus, Mr. Hardwick’s identical claims and his request for identical relief as the proposed
 class members satisfies Rule 23(a)(3).

     D.    Mr. Hardwick Will Fairly and Adequately Represent the
           Interests of the Class .....................................................................................................45

           1.      The Interest of Mr. Hardwick and the proposed class
                   are identical ..........................................................................................................46

 Mr. Hardwick and the proposed class share the same legal claims that arise from the same
 tortious conduct by Defendants. They also share the same goal: common, uniform, class-
 wide injunctive and equitable relief in the form of studies, testing, analysis, and
 monitoring—not money damages for any personal injuries, property damage, or other relief
 that could vary among the individual class members.

           2.      Counsel will vigorously prosecute the proposed class ......................................46

 The proposed class counsel are adequately qualified, experienced, and capable of
 conducting this proposed classwide litigation. In fact, the proposed class counsel and their
 respective firms are national leaders in PFAS-related litigation; spending significant time
 and resources to help parties negatively impacted by Defendants’ PFAS.

 II. The Proposed Class Meets the Requirements of Rule 23(b)(2) ........................................48

 The proposed class falls squarely within Rule 23(b)(2). Mr. Hardwick and the proposed
 class ask for injunctive and equitable/declaratory relief only, which would provide equal
 relief simultaneosuly to the entire class as a whole. This classwide relief would lead to the
 creation and funding of a program to design, implement, and administer appropriate
 medical and scientific studies, testing, and analysis for Mr. Hardwick and all the potential
 class members, which are necessitated by Defendants’ contamination of the proposed class
 members’ blood and bodies with PFAS.


                                                                   iii
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 6 of 68 PAGEID #: 1486




 III. The Court Has Jurisdiction Over Unnamed,
      Non-Ohio Class Members ....................................................................................................50

 In their motions to dismiss, Defendants argued that the Court lacks specific jurisdiction
 over non-Ohio class members, citing Bristol-Myers Squibb Co. v. Superior Court, 137
 S. Ct. 1773 (2017). But almost every court, including the Seventh Circuit and this Court,
 to address whether Bristol-Myers Squibb Co. applies to class actions (rather than just mass
 actions) has answered that question in the negative. As a result, this Court’s decision
 explaining that Mr. Hardwick established personal jurisdiction over each Defendant
 remains sufficient to resolve this issue at this stage of the litigation. There are no additional
 jurisdictional concerns for this proposed nationwide class action.

 CONCLUSION ...........................................................................................................................54




                                                                   iv
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 7 of 68 PAGEID #: 1487




                                               TABLE OF AUTHORITIES

 Cases                                                                                                                        Page(s)

 In re Am. Med. Sys., Inc.,
     75 F.3d 1069 (6th Cir. 1996) .................................................................................35, 38, 44, 48

 Bacon v. Honda of Am. Mfg., Inc.,
    370 F.3d 565 (6th Cir. 2004) ...................................................................................................37

 Beattie v. CenturyTel, Inc.,
    511 F.3d 554 (6th Cir. 2007) ...................................................................................................46

 Benoit v. Saint-Gobain Performance Plastics Corp.,
    959 F.3d 491 (2d Cir. 2020).................................................................................................3, 42

 Bovee v. Coopers & Lyband,
    216 F.R.D. 596 (S.D. Ohio 2003) ................................................................................38, 40, 44

 Bristol-Myers Squibb Co. v. Superior Court,
     137 S. Ct. 1773 (2017) ...........................................................................................50, 51, 52, 53

 Burdick v. Tonoga, Inc.,
    112 N.Y.S.3d 342 (N.Y. App. Div. 2019) .....................................................................3, 42, 43

 Cash v. Swifton Land Corp.,
    434 F.2d 569 (6th Cir. 1970) ...................................................................................................37

 Cmty. Refugee & Immigration Servs. v. Registrar,
   Ohio Bureau of Motor Vehicles,
   334 F.R.D. 493 (S.D. Ohio 2020) .................................................................................... passim

 Cole v. Memphis,
    839 F.3d 530 (6th Cir. 2016) ...................................................................................................36

 Coleman v. Gen. Motors Acceptance Corp.,
    220 F.R.D. 64 (M.D. Tenn. 2004) .....................................................................................36, 37

 Daffin v. Ford Motor Co.,
    458 F.3d 549 (6th Cir. 2006) ...................................................................................................37

 Donovan v. Philip Morris USA, Inc.,
    268 F.R.D. 1 (D. Mass. 2010) ..................................................................................................41

 In re Fernald Litig.,
     No. C-1-85-149, 1989 WL 267039
     (S.D. Ohio Sept. 29, 1989) .......................................................................................................32




                                                                    v
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 8 of 68 PAGEID #: 1488




 Hermens v. Textiles Coated Inc.,
    Nos. 216-2017-CV-524 and 216-2017-CV-525
    (N.H. Super. Ct. July 20, 2019) .....................................................................................3, 41, 42

 Huguley v. Gen. Motors Corp.,
    925 F.2d 1464 (6th Cir. 1991) .................................................................................................49

 Kutschback v. Davies,
    885 F. Supp. 1079 (S.D. Ohio 1995) .......................................................................................38

 Lacy v. Comcast Cable Commc’ns, LLC,
    No. 3:19-CV-05007, 2020 WL 1469621
    (W.D. Wash. Mar. 26, 2020) ...................................................................................................54

 McGee v. East Ohio Gas Co.,
   200 F.R.D. 382 (S.D. Ohio 2001) ............................................................................................36

 Munsell v. Colgate-Palmolive Co.,
   No. CV 19-12512-NMG, 2020 WL 2561012
   (D. Mass. May 20, 2020) .........................................................................................................54

 Murphy v. Aaron’s, Inc.,
   No. 19-CV-00601, 2020 WL 2079188
   (D. Colo. Apr. 30, 2020) ..........................................................................................................54

 Mussat v. IQVIA, Inc.,
   953 F.3d 441 (7th Cir. 2020) .......................................................................................52, 53, 54

 In re Nat’l Football League Players Concussion Injury Litig.,
     821 F.3d 410 (3d Cir. 2016).....................................................................................................40

 In re Oil Spill by the Oil Rug Deepwater Horizon,
     295 F.R.D. 112 (E.D. La. 2013)...............................................................................................41

 Phillips v. Philip Morris Cos.,
    298 F.R.D. 355 (N.D. Ohio 2014) .....................................................................................37, 39

 Progressive Health & Rehab Corp. v. Medcare Staffing, Inc.,
    No. 2:19-cv-710, 2020 WL 3050185
    (S.D. Ohio June 8, 2020) ...................................................................................................53, 54

 Rikos Procter & Gamble Co.,
    799 F.3d 497 (6th Cir. 2015) .............................................................................................35, 38

 Senter v. Gen. Motors Corp.,
    532 F.2d 511 (6th Cir. 1976) .......................................................................................38, 49, 50




                                                                   vi
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 9 of 68 PAGEID #: 1489




 Sprague v. Gen. Motors Corp.,
    133 F.3d 388 (6th Cir.1998) ........................................................................................39, 44, 45

 Sullivan v. DB Invs., Inc.,
     667 F.3d 273 (3d Cir. 2011).....................................................................................................49

 Sullivan v. Saint-Gobain Performance Plastics Corp.,
     No. 5:16-cv-125, 2019 WL 8272995
     (D. Vt. Aug. 23, 2019) .............................................................................................3, 40, 41, 42

 Sutton v. Hoffman-La Roche Inc.,
     Nos. A-5545–49 (N.J. Super. Ct. App. Div. May 27, 2020) .......................................43, 44, 45

 In re Telectronics Pacing Sys., Inc.,
     172 F.R.D. 271 (S.D. Ohio 1997) ............................................................................................41

 Wal-Mart Stores, Inc. v. Dukes,
    564 U.S. 338 (2011) .................................................................................................................36

 Weathers v. Peters Realty Corp.,
   499 F.2d 1197 (6th Cir. 1974) ...........................................................................................36, 37

 In re Whirlpool Corp. Front-Loading Washer Prod. Liability Litig.,
     722 F.3d 838 (6th Cir. 2013) ...................................................................................................35

 Young v. Nationwide Mut. Ins. Co.,
    693 F.3d 532 (6th Cir. 2012) .......................................................................................37, 44, 45

 Rules

 Fed. R. Civ. P. 4 .............................................................................................................................53

 Fed. R. Civ. P. 23 ................................................................................................................... passim

 Fed. R. Civ. P. 26 ...........................................................................................................................34

 Fed. R. Evid. 402 .............................................................................................................................4

 Other Authorities

 Agency for Toxic Substances & Disease Registry,
    Toxicological Profile for Perfluoroalkyls,
    Draft for Public Comment (2018) ........................................................................4, 5, 15, 23, 27

 Alice M. Ollstein,
     Trump Invokes DPA for Testing Swabs, Weeks After Reported Shortages,
     Politico (Apr. 19, 2020) ...........................................................................................................29




                                                                       vii
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 10 of 68 PAGEID #: 1490




 Am. Chemistry Council,
   America’s Drinking Water (Jan. 22, 2020) ..............................................................................31

 Am. Chemistry Council,
   Long-Chain Perfluorinated Substances (May 1, 2015) .....................................................12, 31

 Arlene Blum, et al.,
    The Madrid Statement on Poly- and Perfluoroalkyl Substances (PFASs),
    123 Envtl. Health Persp. A 107 (2015) ....................................................................................25

 Bundesinstiut für Risikobewertung,
    New Study Shows: One-Year-Old Children Demonstrate
    Lower Concentration of Vaccine Antibodies with High
    PFOA Concentration in the Blood (2020) ...............................................................................16

 C8 Med. Monitoring Program,
    http://www.c-8medicalmonitoringprogram.com/ ..........................................................2, 14, 15

 C8 Science Panel,
    http://www.c8sciencepanel.org/
    (last updated Jan. 22, 2020) .....................................................................................2, 12, 13, 14

 Carol F. Kwiatkowski, et al.,
    Scientific Basis for Managing PFAS as a Chemical Class,
    Envtl. Science & Tech. Letters (June 30, 2020) ......................................................................31

 Christopher Knaus,
    Toxic firefighting chemicals ‘the most seminal public health challenge,’
    The Guardian (Oct. 18, 2017) ..................................................................................................24

 Daniel Wilf-Townsend,
    Did Bristol-Myers Squibb Kill the Nationwide Class Action,
    129 Yale L.J. Forum 205 (2019)..............................................................................................52

 Donald J. Trump,
    Executive Order on Delegating Authority under the DPA with Respect to
    Food Supply Chain Resources During the Nat’l Emergency Caused by the
    Outbreak of COVID-19 (Apr. 28, 2020) ..................................................................................29

 Donald J. Trump,
    Presidential Memo. on Expanding State-Approved Diagnostic Tests
    (Mar. 13, 2020) ........................................................................................................................29

 Donald J. Trump,
    Presidential Memo. on Order Under the DPA Regarding 3M Co.
    (Apr. 2, 2020) ...........................................................................................................................29




                                                                      viii
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 11 of 68 PAGEID #: 1491




 Hearing on The Devil They Knew—PFAS Contamination
    and the Need for Corporate Accountability Before the
    Subcomm. on Env’t of the H. Comm. on Oversight & Reform,
    116th Cong. (2019) ......................................................................................................13, 18, 26

 Hearing on Examining the Federal response to the risks associated with
    per- and polyfluoroalkyl substances (PFAS) Before the
    S. Comm. on the Env’t & Pub. Works,
    116th Cong. (2019) ..................................................................................................................23

 Hearing on The Federal Role in the Toxic PFAS Chemical Crisis
    Before the Subcomm. on Fed. Spending Oversight & Emergency Mgmt. of the
    S. Comm. on Homeland Sec. & Governmental Affairs,
    115th Cong. (2018) ..................................................................................................................24

 Liz Bowman,
     FluoroCouncil Cos. to Phase out Long-Chain Chemicals by Year’s End,
     Am. Chemistry Council (Jan. 20, 2015) ..................................................................................11
 Maija Zummo,
    DeWine: Until There’s a Vaccine, Life in Ohio Isn’t Opening Up Normally,
    Scene (Apr. 15, 2020 at 1:51 PM) .....................................................................................16, 17

 Office of Gov. DeWine,
    Governor DeWine Orders Analysis of PFAS in Ohio Drinking Water
    (Sept. 27, 2019) ..................................................................................................................20, 22

 Office of Gov. Whitmer,
    Executive Order 2019-03 (Feb. 4, 2019) .................................................................................21

 Philippe Grandjean, et al.,
     Estimated Exposes to Perfluorinated Compunds in Infancy Predict
     Attenuated Vaccine Antibody Concentrations at Age 5-Years,
     14 J. Immunotoxicology 188 (2017)........................................................................................16

 Sharon Lerner,
    Lawsuit Reveals How Paid Expert Helped 3M
    “Command the Science” on Dangerous Chemicals,
    The Intercept (Feb. 23, 2018, 9:16 AM) ..................................................................................13

 Stockholm Convention on Persistent Organic Pollutants (2019) ............................................18, 19

 Tasha Stolber,
    PFAS Chemicals Harm the Immune System, Decrease
    Response to Vaccines, New EWG Review Finds,
    Envtl. Working Grp. (June 21, 2019) ......................................................................................15




                                                                     ix
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 12 of 68 PAGEID #: 1492




 U.S. Census Bureau,
    U.S. & World Population Clock,
    https://www.census.gov/popclock/ ..........................................................................................38

 Wright & Miller,
    Fed. Prac. & Proc. Civ. § 1769 (3d ed. 2019) ..........................................................................46




                                                                x
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 13 of 68 PAGEID #: 1493




                                        INTRODUCTION

        Defendants have contaminated nearly every person in the United States, including

 Plaintiff Kevin Hardwick, with PFAS they created.1 Defendants did so without warning, without

 asking permission, and without concern for the damage they were doing. Defendants knew for

 decades that their chemicals would get into humans and present long-lasting, serious risk of

 disease and harm, but they did not tell anyone. Instead, they kept releasing their PFAS into the

 world, knowing (and fully expecting) that their chemicals would invade the human body,

 accumulate, and stay there, presenting a continuing threat of serious, significant harm.

        Neither Mr. Hardwick nor any of the other proposed class members had a chance to avoid

 Defendants’ poisoning and contamination of their bodies and blood. And now, as a result, Mr.

 Hardwick and the proposed class all face the same persistent, continuing, and accumulating

 contamination of their blood and bodies with Defendants’ chemicals—and the associated risks

 and threats of developing various diseases, including cancer. So Mr. Hardwick, on behalf of the

 proposed class, brought this class action to seek common equitable and injunctive relief to

 address this common “ticking time bomb” of PFAS chemicals lingering in the blood and bodies

 of people across this country. In response, Defendants asked the Court to dismiss the case—

 basically alleging that there was nothing anyone could do under our current legal system to

 address this common threat before the inevitable detonation.


 1
  “PFAS” are synthetic, toxic per- and polyfluoroalkyl substances, including perfluorooctanoic
 acid (“PFOA”) and perfluorooctane sulfonic acid (“PFOS”) and related chemicals, including, but
 not limited to, those that degrade to PFOA and/or PFOS, and including, but not limited to, C3-C-
 15 PFAS chemicals, such as perfluorohexanesulfonate (PFHxS), perfluorononanoate (PFNA),
 perfluorobutanesulfonate (PFBS), perfluorohexanoate (PFHxA), perfluoroheptanoate (PFHpA),
 perfluoroundecanoate (PFUnA), perfluorododecanoate (PFDoA), HFPA Dimer Acid (CAS #
 13252-13-6/C3 Dimer Acid/P-08-508/FRD903/GX903/C3DA/GenX), and HFPA Dimer Acid
 Ammonium Salt (CAS# 62037-80-3/ammonium salt of C3 Dimer Acid/P-08-
 509/FRD902/GX902/GenX). (First Am. Compl., [ECF No. 96] at PageID #561, ¶ 1.)


                                                  1
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 14 of 68 PAGEID #: 1494




        But this Court did not let Defendants off-the-hook for dumping destructive chemicals into

 the bodies of hundreds of millions of Americans. Instead, it correctly explained that Mr.

 “Hardwick has alleged injury sufficient to state a claim of negligence and/or battery upon which

 relief can be granted.” (Op. & Order, [ECF No. 128] at PageID #849.) And it correctly

 explained that scientific study and monitoring are available remedies to combat Defendants’

 tortious conduct. (Id. at PageID #851–55.) This is the same injury that the entire proposed class

 shares with Mr. Hardwick. And the proposed class asks for the same, common injunctive relief.

        This type of relief is nothing new—courts have certified class actions seeking analysis

 and testing of PFAS chemicals. For example, as far back as 2002, a class action was certified in

 West Virginia seeking a common, class-wide medical monitoring program for those exposed to

 PFOA. And that court eventually approved and oversaw implementation of such a common,

 class-wide medical monitoring program, which included blood testing and a series of extensive,

 epidemiological studies of the class members, costing tens of millions of dollars and covering

 tens of thousands of people. That program (including the appointment of an independent panel

 of epidemiologists known as the “C8 Science Panel” and a second panel of independent medical

 doctors known as the “C8 Medical Panel”) led to scientific confirmation for all class members as

 to the diseases linked to their PFOA exposures—and it led to the creation of a common, class-

 wide medical monitoring, blood testing, and detection program for those at risk for those

 diseases. (C8 Science Panel Program, http://www.c8sciencepanel.org (last visited July 13,

 2020); C8 Med. Monitoring Program, http://www.c-8medicalmonitoringprogram.com/ (last

 visited July 28, 2020).)

        This successful program for one PFAS chemical (PFOA), in one impacted community,

 serves as a model for the testing, monitoring, and research program that Mr. Hardwick now




                                                 2
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 15 of 68 PAGEID #: 1495




 requests for the broader, common PFAS exposure existing nationwide. In other words, the basic

 framework is in place. And that framework has already succeeded on a common, class-wide

 basis for a large group of people, which provided an effective mechanism for resolving shared,

 common scientific questions regarding the causal connections between PFAS exposures and

 health risks to class members. This existing model for PFOA in one community just needs to be

 expanded to include monitoring, testing, and study for additional exposed individuals and

 additional types of PFAS.

        In the years since the West Virginia court approved the original PFOA-related medical

 monitoring, testing, and epidemiological study program, other courts have also recognized that

 PFOA and related PFAS chemicals present risks to those exposed. And in response, these courts

 also have certified cases to proceed on class-wide bases to pursue common, equitable, and

 injunctive relief. For example, courts in Vermont, New Hampshire, and New York certified

 class actions seeking class-wide medical monitoring in response to PFAS chemical exposures.

 See, e.g., Sullivan v. Saint-Gobain Performance Plastics Corp., No. 5:16-cv-125, 2019 WL

 8272995 (D. Vt. Aug. 23, 2019) (attached as Ex. A); Hermens v. Textiles Coated Inc., Nos. 216-

 2017-CV-524 and 216-2017-CV-525 (N.H. Super. Ct. July 20, 2019) (attached as Ex. B);

 Burdick v. Tonoga, Inc., 112 N.Y.S.3d 342, 347–48 (N.Y. App. Div. 2019). And the Second

 Circuit recently confirmed that a proposed class can proceed with class-wide medical monitoring

 claims based on the fact that defendants’ actions caused PFOA accumulation in the prospective

 class members’ blood. Benoit v. Saint-Gobain Performance Plastics Corp., 959 F.3d 491, 494,

 496, 501–02 (2d Cir. 2020) (explaining that the proposed class of “Accumulation Plaintiffs”

 suffered an injury because the accumulation of PFOA in their blood causes an increased risk of

 serious health problems even if the plaintiffs are otherwise asymptomatic) (New York law).




                                                3
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 16 of 68 PAGEID #: 1496




        Here, Mr. Hardwick is asking this Court to follow and expand upon this well-established

 precedent to certify a larger, nationwide class. This would allow Mr. Hardwick and the class to

 pursue common equitable and injunctive relief in the form of a larger, more comprehensive

 scientific program to assess, analyze, test, and study the nationwide impacts of Defendants’

 multiple PFAS. In this regard, Mr. Hardwick respectfully requests that the Court certify a class

 consisting of “any individual residing within the United States at the time of class certification

 for one year or more since 1977 with 0.05 parts per trillion (ppt) of PFOA and at least 0.05 ppt of

 any other PFAS in their blood serum” to pursue the common injunctive and equitable relief

 claims asserted in his Complaint.2 This will allow the Court to resolve all of the common claims

 in one broad stroke.

                                   FACTUAL BACKGROUND

 A.     Defendants Contaminated Mr. Hardwick’s Blood and Body with PFAS.

        Over his lifetime, Mr. Hardwick was exposed to PFAS chemicals, and he now has at least

 0.05 ppt of PFOA and 0.05 ppt or more of at least one other PFAS chemical in his blood serum.

 (Bilott Decl., attached as Ex. C, ¶ 16.)3 PFAS did not enter Mr. Hardwick’s blood through any

 act of nature. There is no natural background level of PFAS. (See Agency for Toxic Substances

 & Disease Registry (“ATSDR”), Toxicological Profile for Perfluoroalkyls, Draft for Public


 2
   The following individuals are excluded from the class: (a) Defendants’ legal representatives,
 employees, officers and/or directors; (b) the Judge to whom the case is assigned, the Judge’s
 staff, and the Judge’s immediate family; (c) any class counsel or their immediate family; and (d)
 any individual who has already released or filed claims for any diagnosed or manifest disease or
 manifest sickness that such individual attributes to Defendants’ release of PFAS as described in
 the First Amended Complaint as to such specific released or filed claims. (ECF No. 96, ¶ 84.)
 3
   Attached to this motion is the Declaration of Robert Bilott. The documents attached as exhibits
 to his Declaration are relevant, authenticated, and admissible. See Fed. R. Evid. 402. Most of
 the documents come directly from Defendants’ files. And many of the other documents are
 business and public records, most of which have already been admitted at trials involving PFAS
 or in related public court filings.


                                                  4
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 17 of 68 PAGEID #: 1497




 Comment 2 (2018), https://tinyurl.com/y8rs794a (hereinafter “ATSDR Profile”).) Nor is there

 any “normal” or “acceptable” level or rate of PFAS in human blood. (See id.) Instead, PFAS is

 a class of synthetic chemicals developed in the 1930s and 1940s and put into large-scale

 manufacture and use by the early 1950s. (ATSDR, PFAS, An Overview of the Science and

 Guidance for Clinicians on Per- and Polyfluoroalkyl Substances (PFAS) 3 (2019),

 https://tinyurl.com/y5bg5gn4 (hereinafter “ATSDR Guidance”); Bilott Decl., ¶ 18, Exs. 1–2.)

        Prior to the commercial development and large-scale manufacture and use of PFAS,

 PFAS was not found, detected, or present in human blood. (See ATSDR Profile; Bilott Decl.,

 ¶ 18, Ex. 3 at 3MA00257430, Ex. 4 at 3MA10067218.) Thus, the only “normal” or “natural”

 “background” level of any PFAS in human blood is none—zero. Yet, blood serum testing and

 analysis by Defendants, independent scientific researchers, and governmental entities has

 confirmed that PFAS is now present in approximately 99% of the population of the United

 States. (See EPA, Drinking Water Health Advisory for Perfluorooctanoic Acid (PFOA) 9

 (2016), https://tinyurl.com/y89y52v5.)

        The PFAS entered Mr. Hardwick’s blood and body, and the bodies and blood of the other

 prospective class members, without their consent or knowledge, because of the conduct of

 Defendants 3M Company (“3M”), E. I. du Pont de Nemours and Company (“DuPont”), The

 Chemours Company L.L.C. (“Chemours”), Archroma Management, LLC (“Archroma”),

 Arkema, Inc. (“Arkema”), Arkema France, S.A. (“Arkema France”), AGC Chemicals Americas,

 Inc. (“AGCCA”), Daikin Industries, Ltd. (“Daikin Industries”), Daikin America, Inc. (“Daikin

 America”), and Solvay Specialty Polymers, USA, LLC (“Solvay”) (collectively, “Defendants”).

 Each of the Defendants marketed, developed, distributed, sold, manufactured, released, trained

 users on, produced instructional materials for, and otherwise handled or used one or more PFAS




                                                 5
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 18 of 68 PAGEID #: 1498




 materials in a way that caused the contamination of Mr. Hardwick’s and the potential class

 members’ blood and bodies. (E.g., Bilott Decl., ¶ 18, Ex. 2 at US00001669, Ex. 5 at

 3MA00193738, Ex. 6 at EID951571–80, Ex. 7, Ex. 8 at 1–2, Ex. 9 at ROWE009353–59, Ex. 10

 at ROWE009742–49, Ex. 11 at 1, Ex. 12 at 1–2, Ex. 13 at 1–2, Ex. 14 at 1, Ex. 15 at 1–4, Ex. 16

 at ROWE035866, Ex. 17 at 7175, Ex. 18; Chemours, The Chemours Company Reaches

 Agreement with North Carolina DEQ and Cape Fear River Watch 1 (2018),

 https://tinyurl.com/yaoozvj2; Fact Sheet: 2010/2015 PFOA Stewardship Program, EPA,

 https://tinyurl.com/y8lam3xn (last updated Aug. 9, 2018) (hereinafter “EPA Fact Sheet”).)

 Because PFAS is biopersistent and bioaccumulative, the PFAS has accumulated into their blood

 and bodies and will remain there for many, many years. (ATSDR Guidance, 5.)

 B.     Defendants Have Known for Decades about the Dangers of PFAS.

        PFAS is not a benign addition to Mr. Hardwick’s or the proposed class members’ body

 chemistry. PFAS is toxic, persistent, and bioaccumulative—and Defendants have known it for

 decades.

        By the end of the 1960s, some of the Defendants performed animal toxicity testing that

 indicated that exposure to PFAS, including at least PFOA, resulted in various adverse health

 effects. (Bilott Decl., ¶ 18, Ex. 19 at EID122848–50, Ex. 20 at EID924561.) These tests

 involved multiple species of laboratory animals—and indicated that PFAS had toxic effects to

 the liver, testes, adrenals, and other organs and bodily systems. (Id.)

        Defendants have also known for decades that PFAS is both biopersistent and

 bioaccumulative. By the end of the 1960s, research and testing performed by some of the

 Defendants indicated that PFAS, including at least PFOA, was resistant to environmental

 degradation and would persist in the environment essentially unaltered because of its unique

 chemical structure. (Id. ¶ 18, Ex. 21 at 3M_MN04855117–18, 3M_MN04855124–27.) And by


                                                  6
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 19 of 68 PAGEID #: 1499




 the end of the 1970s, Defendants’ research and testing indicated that one or more PFAS,

 including at least PFOA and PFOS, would bind to proteins in the blood of animals and humans

 for the same reason. (Id. ¶ 18, Ex. 22 at EID510227–28, Ex. 23 at EID924746, Ex. 24 at 369,

 Ex. 25 at EID924645, Ex. 26 at 3MA10065463, 3MA10065471–72, 3MA10065474,

 3MA10065476, 3MA10065498–99, 3MA10065507.) Defendants learned that PFAS would not

 only remain and persist over long periods, but that it would continue to accumulate and build up

 in the blood and bodies of the exposed individuals with each additional exposure, no matter how

 small. (Id. ¶ 18, Ex. 26 at 3MA10065463, 3MA10065471–72, 3MA10065474, 3MA10065476,

 3MA10065498–99, 3MA10065507.)

        Despite this knowledge, Defendants, through their manufacture, use, and dissemination

 of the chemicals, released PFAS into the environment through numerous sources, including the

 air, surface waters, ground waters, soils, and landfills. (E.g., id. ¶ 18, Ex. 5 at 3MA00193738,

 Ex. 27 at 3.) Defendants also released PFAS into the environment through their involvement in

 the creation and development of consumer and commercial products and materials—and their

 development of training and instructional materials related to PFAS. (E.g., id. ¶ 18, Ex. 2 at

 US00001669, Ex. 5 at 3MA00193738, Ex. 6 at EID951571–80, Ex. 7 at 14, Ex. 16 at

 ROWE035866; EPA Fact Sheet.)

        Also by the end of the 1970s, some of the Defendants, including at least DuPont and 3M,

 were aware that PFAS, including at least PFOA and PFOS, had been detected in the blood of

 workers at PFAS manufacturing facilities and in the blood of the general population of the

 United States. (Bilott Decl., ¶ 18, Ex. 2 at US00001669, Ex. 3 at 3MA00257421,

 3MA00257430, Ex. 4 at 3MA10067216–18, Ex. 28 at 3MA10034962, Ex. 29 at

 3M_MN05382159, Ex. 30 at 3MA10035028–32, Ex. 31 at EID232297–98, Ex. 32 at




                                                  7
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 20 of 68 PAGEID #: 1500




 EID107196, Ex. 33 at EID107138, EID107148.) Even worse, DuPont and 3M knew that it had

 been detected in people not known to be working at or living near facilities manufacturing or

 using PFAS. (Id.) This finding indicated to those Defendants that if they continued to

 manufacture and use PFAS, it would inevitably result in continued and increased levels of PFAS

 getting into the environment and into human blood across the United States, even in areas

 nowhere near facilities manufacturing or using PFAS.

        By the end of the 1980s, additional research and testing performed by some Defendants

 indicated that at least one PFAS, PFOA, had caused Leydig cell (testicular) tumors in a chronic

 cancer study in rats. (Id. ¶ 18, Ex. 34 at EID917956–58, Ex. 35 at EID107384–85, Ex. 36 at

 EID510258, Ex. 37 at WJB000004–05, WJB000014, Ex. 38 at 3M_MN02323182.) This

 resulted in at least one Defendant, DuPont, classifying PFOA internally as a confirmed animal

 carcinogen and possible human carcinogen. (Id.) This classification was important. Defendants

 understood that when they knew that a chemical caused cancer in animal studies, that they must

 also presume that the chemical presented a cancer risk to humans. (Id. ¶ 18. Ex. 36 at

 EID510258, Ex. 37 at WJB000002–05, Ex. 39 at EID797573.) This presumption was required

 unless the precise mechanism by which the tumors were caused in animals was known—and it

 was known that such mechanism would not occur in humans. (Id.) So because Defendants’

 scientists had not determined the precise mechanism by which any PFAS caused tumors,

 Defendants were required to presume (by at least that point in time) that PFAS presented a

 potential cancer risk to exposed humans. (Id. ¶ 18, Ex. 37 at WJB000002–05, Ex. 39 at

 EID797573, Ex. 40 at 209.) This basic premise was confirmed in the published, peer-reviewed

 literature available to all Defendants. (Id.)




                                                 8
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 21 of 68 PAGEID #: 1501




        Defendants’ research and testing in the 1980s also confirmed that workers exposed to

 PFAS, including at least PFOA, reported elevated incidence of certain cancers and other adverse

 health effects, including elevated liver enzymes and birth defects. (Id. ¶ 18, Ex. 41 at

 EID079375, Ex. 42 at EID102511, EID102517–18, Ex. 43 at EID107201, Ex. 44 at EID521383.)

 None of the Defendants published this data, provided it to governmental entities as required by

 law, or otherwise publicly disclosed it at that time. Instead, Defendants chose to just keep the

 information to themselves.

        Defendants, including at least 3M and DuPont, also understood in the 1980s that PFAS,

 and particularly the longer-chain PFAS, such as PFOA and PFOS, had a disturbingly long half-

 life in humans. (Id. ¶ 18, Ex. 2 at US00001669–70, Ex. 6 at EID951571–73, Ex. 7 at 12, Ex. 45

 at GK001456–57.) So they knew that once PFAS was in the human body and blood, it would

 stay there. (Id.) And assuming an individual did not have any additional exposure, years would

 pass before even half of the PFAS would be eliminated from the body. (Id. ¶ 18, Ex. 6 at

 EID951573–74, Ex. 45 at GK001456–57.) Defendants understood that this long half-life meant

 that PFAS would build up and accumulate in the blood and bodies of exposed individuals over

 time, particularly if any level of exposure continued. (Id.)

        By the end of the 1990s, additional research and testing performed by some Defendants,

 including at least 3M and DuPont, indicated that at least one PFAS, PFOA, had caused a triad of

 tumors (Leydig cell (testicular), liver, and pancreatic) in a second chronic cancer study in rats.

 (Id. ¶ 18, Ex. 46 at 3MA00194569–70, Ex. 47 at EID101658, Ex. 48 at USEPA 15643.) But

 Defendants still could not identify the precise mechanism of action that caused each of the

 tumors. (Id. ¶ 18, Ex. 46 at 3MA00194570–72, 3MA00194579.) So just like the first study,

 scientific principles of carcinogenesis classification required Defendants to presume that the




                                                   9
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 22 of 68 PAGEID #: 1502




 PFAS likewise presented cancer risks to exposed humans. (Id. ¶ 18, Ex. 37 at WJB000002–05,

 Ex. 39 at EID797573.)4

 C.        Faced with Regulatory Scrutiny and Increased Public Knowledge about PFAS,
           Defendants Misled Regulators and Denied the Dangers of their Chemicals.

           In the late 1990s and early 2000s, the EPA and other state and local public health

 agencies and officials started to learn of PFAS exposure in the United States. (Id. ¶ 18, Ex. 50 at

 1–3.) Defendants responded to this increased regulatory and public interest by repeatedly

 assuring regulators (and the general public) that PFAS exposure presented no risk of harm and

 carried no legal, toxicological, or medical significance. (Id. ¶ 18, Ex. 12 at 2, Ex. 51 at

 3M_WM00839235, Ex. 52 at EID166246, Ex. 53 at GK003126–27, Ex. 54 at EID825916–21,

 EID825932–33, EID825936, Ex. 55 at EID826779, Ex. 56 at EID715945–48, Ex. 57 at 1, Ex. 58

 at 2, Ex. 59 at ROWE025095.) Based on Defendants’ studies from the preceding decades alone,

 that was not true. For example, in the late 1990s, when 3M first reported finding an average of

 approximately 30 ppb PFOS in blood serum in the general US population, its own scientists had

 internally estimated that a “safe” level for PFOS in human serum would be only 1.05 ppb—but

 3M never shared that critical information with regulatory authorities or the public. (Id. ¶ 18, Ex.

 61 at 3M_BELL01940053.) Instead, 3M falsely assured everyone that the chemicals in their

 blood posed no risk or threat of any harm.5 (Id.)

           After the EPA and other entities began asking Defendants to stop manufacturing and

 using certain PFAS, Defendants just switched to “new” PFAS compounds. (Id. ¶ 18, Ex. 16 at


 4
     Since then, yet a third study has confirmed carcinogenic effects. (Bilott Decl., ¶ 18, Ex. 49.)
 5
   Indeed, 3M assured the EPA and the public in 1999 that “no identifiable health risk to humans
 would be expected to occur at the PFOS levels found in blood bank or commercial serum
 samples.” (Bilott Decl., ¶ 18, Ex. 2 at US00001671.) Yet 3M noted that PFOS had been found
 “in serum samples from the general population, averaging 30 ppb in blood bank samples from
 diverse locations in the U.S.” (Id. at US00001672.)


                                                    10
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 23 of 68 PAGEID #: 1503




 ROWE035866, Ex. 62 at 1–2, Ex. 63 at 1.) Defendants began manufacturing or increased their

 ongoing manufacture of PFAS with six or fewer carbons atoms, such as GenX (collectively

 “short-chain PFAS”). (Id.)

        Short-chain PFAS, however, may present risks similar to many of the original long-chain

 PFAS. (Id. ¶ 18, Ex. 64 at 13–14, Ex. 65 at 943–48, Ex. 66 at 1–3, Ex. 67 at 1–5, Ex. 68 at 1, 8,

 Ex. 69 at 037002-1, 037002-9.) Some Defendants, including at least DuPont and 3M, are aware

 that one or more short-chain PFAS has been found in human blood. (Id. ¶ 18, Ex. 9 at

 ROWE009354–55, ROWE009397, ROWE009406, Ex. 10 at ROWE009742–44, Ex. 70 at 003-

 2007-0000203–04, Ex. 71 at 8042.) And by the mid-2010s, at least DuPont and Chemours knew

 that short-chain PFAS caused the same triad of tumors (Leydig (testicular), liver, and pancreatic)

 in a chronic rat cancer study. (Id. ¶ 18, Ex. 65 at 943–48, Ex. 72 at 1–2.) But Defendants still do

 not know the precise mechanism of action that caused those tumors. So again, just like with

 long-chain PFAS, Defendants are required to presume that these short-chain PFAS also present a

 cancer risk to exposed humans. (Id. ¶ 18, Ex. 37 at WJB000002–05, Ex. 39 at EID797573.)

        Despite knowing of risks posed by short-chain PFAS, and despite the protests and

 objections of even some of their own employees, (id. ¶ 18, Ex. 73 at 3M_BELL02747275, Ex.

 74 at 3M_BELL03267721–22, Ex. 75 at 3M_BELL01663669–70), Defendants repeatedly

 assured and represented to governmental entities and the public (and continue to do so) that the

 presence of PFAS, including short-chain PFAS, in human blood at the levels found within the

 United States presents no risk of harm and is of no legal, toxicological, or medical significance.

 (E.g., Bilott Decl., ¶ 18, Ex. 76 at 019-0401-0000002–05, Exs. 77–78, Ex. 79 at 2–5, 7, Ex. 81 at

 6; Liz Bowman, FluoroCouncil Cos. to Phase out Long-Chain Chemicals by Year’s End, Am.

 Chemistry Council (Jan. 20, 2015), https://tinyurl.com/y9uo6c69; FluoroCouncil Supports




                                                 11
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 24 of 68 PAGEID #: 1504




 Science-Based Policy for Long-Chain Perfluorinated Substances, Am. Chemistry Council (May

 1, 2015), https://tinyurl.com/ybp3mw4s.) And until recently, several Defendants represented to

 the public through the website of their lobbying organization, the FluoroCouncil, that: “The

 newer, short-chain chemistries currently in use are well studied. . . . The science supports the

 conclusion that the newer FluoroTechnology is not expected to present a significant risk to

 humans and the environment.” (Bilott Decl., ¶ 18, Ex. 82 at 4.)

         By 2010, additional research and testing performed by some Defendants, including at

 least 3M and DuPont, revealed many potential adverse health risks to workers from PFAS

 exposures. These health risks included increased cancer, hormone changes, lipid changes, and

 thyroid and liver problems. (Id. ¶ 18, Ex. 83 at 2–5, Ex. 84 at EID645650, EID645660, Ex. 85 at

 1, Ex. 86 at 1086, 1091–92, 1095, Ex. 87 at 15–21.) In fact, Defendants’ own scientists, lawyers,

 and advisors often recommended that Defendants conduct further studies to assess the extent to

 which PFAS exposures were causing those effects, or to take steps to address the impacts to

 exposed communities. (Id. ¶ 18, Ex. 86 at 1095, Ex. 87 at 21, Ex. 88 at EDD0072900, Ex. 89 at

 1–2.)

         In 2011 and 2012, after studying data and blood samples of around 69,000 people, the

 C8 Science Panel publicly announced its findings that PFOA exposures had probable links with

 certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

 disease, preeclampsia, and medically-diagnosed high cholesterol. (Probable Link Evaluation of

 Pregnancy Induced Hypertension and Preeclampsia, C8 Science Panel (Dec. 5, 2011),

 https://tinyurl.com/y8y5z9cb; Probable Link Evaluation of Cancer, C8 Science Panel (Apr. 15,

 2012), https://tinyurl.com/y9uly6dg; Probable Link Evaluation of Thyroid Disease, C8 Science

 Panel (July 30, 2012), https://tinyurl.com/yb4l46qo; Probable Link Evaluation of Autoimmune




                                                  12
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 25 of 68 PAGEID #: 1505




 Disease, C8 Science Panel (July 30, 2012), https://tinyurl.com/y9osclfj; Probable Link

 Evaluation for Heart Disease (including high blood pressure, high cholesterol, coronary artery

 disease), C8 Science Panel (Oct. 29, 2012), https://tinyurl.com/ydc2zunu.)

        Despite these findings, Defendants continued to assure and represent to governmental

 entities, their customers, and the public that the presence of PFAS in human blood presents no

 risk of harm and is of no legal, toxicological, or medical significance. (Bilott Decl., ¶ 18, Ex. 90

 at MDL00122362, Ex. 91 at 2.) Defendants also claimed that the work of the C8 Science Panel

 was inadequate to prove that any amount of PFAS in human blood has any adverse effects upon

 or poses any risk to humans. (Id. ¶ 18, Ex. 90 at MDL00122362, Ex. 92 at MDL00117029–33,

 Ex. 93 at MDL00112647–52, Ex. 94 at 1, Ex. 95 at 3, Ex. 96 at 37–39, 44–45, 49; Hearing on

 The Devil They Knew, 116th Cong. 1–2, 7 (2019) (written responses to committee questions of

 Denise Rutherford), https://tinyurl.com/yd6st3om.) Those claims, of course, are simply not true.

        In addition to lying to regulators and the public about the nature of PFAS and the harms it

 creates, Defendants have also controlled, minimized, trivialized, manipulated and otherwise

 influenced the information on PFAS. For example, Defendants have censored information on

 PFAS in peer-reviewed journals, released by governmental entities, and made available to the

 public. (Sharon Lerner, Lawsuit Reveals How Paid Expert Helped 3M “Command the Science”

 on Dangerous Chemicals, The Intercept (Feb. 23, 2018, 9:16 AM),

 https://tinyurl.com/ydywot7d; Bilott Decl., ¶ 18, Ex. 57 at 1, Ex. 97 at 003-0001-0019350–52,

 Ex. 98 at 1–2, Ex. 99 at EID722942–46, Ex. 100 at EID731484–85, EID731491, Ex. 101 at 1–2,

 Ex. 102 at 1–2, Ex. 103 at 1–3, Ex. 104 at 3M_MN01525833–37, Ex. 105 at 022-0046-0000565–

 66, Ex. 106 at 1–2, Ex. 107 at 146–47, Ex. 108 at 1–2, Ex. 109, Ex. 110 at 1–4, Ex. 111 at 1–2,

 Ex. 112, Ex. 113 at 1–2, Ex. 114 at 1910, Ex. 115 at 2–6, Ex. 116 at DPZ0332751–89, Ex. 117 at




                                                  13
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 26 of 68 PAGEID #: 1506




 3MA02513755–58, 3MA02513762, Ex. 118 at 2, 7, 62.) Defendants have consistently attacked,

 challenged, discredited, and otherwise attempted to undermine scientific studies, findings,

 statements, and any other information that even implies that any PFAS in any human’s blood

 creates any potential adverse health effects. (Id.)

        Defendants have also refused to conduct nationwide studies on how PFAS affects

 humans. In doing so, Defendants want to create a Catch-22 to avoid responsibility for any

 PFAS-related liability. On one hand, Defendants claim no diagnostic medical testing is needed

 because they claim there is insufficient evidence that any of the PFAS found in human blood

 across the United States has any adverse health effects. Yet, on the other hand, Defendants

 refuse to conduct whatever studies they claim are necessary to generate such sufficient evidence,

 despite having the resources, knowledge, and ability to do so. Defendants claim that no study

 has been large enough, involved enough people, or found enough cases of any particular disease

 to be sufficient to prove any health effects caused by any PFAS—all while simultaneously

 refusing to fund or sponsor any such study that could ever meet their own self-created

 “standards” of causation and “proof.” In short, Defendants have sat back, insisting on

 satisfaction of an alleged burden of proof of “causation” requiring incredible resources and

 extensive studies, while refusing to provide the very funding and resources they know virtually

 no one—other than Defendants themselves—has the ability to provide.

        Despite these tremendous obstacles, the C8 Science Panel and C8 Medical Programs

 effectively addressed, class-wide, the issues surrounding the links between PFOA exposure and

 disease in impacted humans. (C8 Probable Link Reports, supra p. 12–13; C8 Med. Monitoring

 Program, supra p. 2.) Indeed, the independent epidemiologists of the C8 Science Panel

 (overseeing testing and new studies and evaluations of tens of thousands of class members)




                                                  14
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 27 of 68 PAGEID #: 1507




 confirmed probable links between exposure to that particular PFAS chemical and at least six

 diseases. (Id.) And the independent medical doctors of the C8 Medical Panel have

 recommended and implemented a common, class-wide medical monitoring and testing program

 to detect those diseases among this same exposed population. (Id.) Other epidemiological

 studies also have shown associations between various other PFAS and serious diseases and

 medical conditions, including pregnancy-induced hypertension and pre-eclampsia, liver damage,

 increases in cholesterol, increased risk of thyroid disease, increased risk of decreased fertility,

 negative impacts to the immune system, decreases in birth weight, and decreased antibody

 response to vaccines. (ATSDR Profile, 5–6.)

        Confronted with all this evidence establishing that PFAS is biopersistent,

 bioaccumulative, and toxic to animals and humans, Defendants concealed what they knew,

 misled the public and regulators, and denied the harms posed by their chemicals, all while

 refusing to perform or fund the very studies they claimed were needed or necessary to confirm

 what their chemicals do to humans. Defendants continue these tactics today.

 D.     The Scientific Community Recognizes the Immediate Need for More Studies.

        There is no debate in the scientific community that we need more PFAS studies now,

 including studies on the cumulative, synergistic impact of PFAS on the body’s immune system.

 This is especially true—and disturbingly relevant—amid the current COVID-19 pandemic.

 Evidence now shows that PFAS can decrease the antibody response to vaccinations—making

 vaccines less effective. (See Bilott Decl., ¶ 17.)

        Many studies have confirmed this frightening fact: “PFAS chemicals . . . are harmful to

 nearly every human organ, and the immune system is particularly vulnerable.” (Tasha Stolber,

 PFAS Chemicals Harm the Immune System, Decrease Response to Vaccines, New EWG Review

 Finds, Envtl. Working Grp. (June 21, 2019), https://tinyurl.com/y3cbrzvj; Bilott Decl., ¶ 18, Exs.


                                                   15
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 28 of 68 PAGEID #: 1508




 119–21.) The risk of a compromised immune system due to PFAS is heightened for children,

 whose “developing immune system may be particularly vulnerable to immunotoxicity in the

 earliest stages of life.” (Id.) For example, studies have found links between PFAS in children

 and weakened responses to vaccinations for tetanus, diphtheria, and measles. (Id. (collecting

 studies and explaining that “early life PFAS exposure” “shows damage to the immune system

 and decreased response to vital vaccines”); see also BFR, New Study Shows: One-Year-Old

 Children Demonstrate Lower Concentration of Vaccine Antibodies with High PFOA

 Concentration in the Blood 1 (2020), https://tinyurl.com/y8txt82h.) There is now a growing—

 and troubling—body of work emphasizing that PFAS create “deficient antibody responses in

 children.” (Philippe Grandjean, et al., Estimated Exposes to Perfluorinated Compounds in

 Infancy Predict Attenuated Vaccine Antibody Concentrations at Age 5-Years, 14 J.

 Immunotoxicology 188, 188 (2017), https://tinyurl.com/yb787coo.)

        But the impact of PFAS on the immune system is not limited to just children. Studies

 also show that PFAS levels in the general public may decrease responses to vaccines. (See Bilott

 Decl., ¶ 18, Ex. 122 at 1; see also Letter from Daniel T. Kildee, et al. to Andrew Wheeler, Acting

 Adm’r of the EPA, 1 (July 17, 2018) (identifying “decreased antibody response to vaccines” as a

 risk resulting from “exposure to PFOS and PFOA”).) Worse still, studies have linked PFAS to a

 “reduced immunity from a flu vaccine.” (Stolber, supra (citing Claire Looker, et al., Influenza

 Vaccine Response in Adults Exposed to Perfluorooctanoate & Perfluorooctanesulfonate, 138(1)

 Toxicology Sci. 76, 76 (2014), https://tinyurl.com/yalxlojy).) That is terrifying news while the

 United States struggles with COVID-19 and its leaders, like Ohio Governor Mike DeWine, warn

 that “[u]ntil there is a vaccine, this monster—as I’ve referred to it—is going to be working

 around us.” (Maija Zummo, DeWine: Until There’s a Vaccine, Life in Ohio Isn’t Opening Up




                                                 16
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 29 of 68 PAGEID #: 1509




 Normally, Scene (Apr. 15, 2020 at 1:51 PM), https://tinyurl.com/yatdmf8s.) This means that

 creating an effective and long-term COVID-19 vaccine necessarily includes better understanding

 the effects of PFAS on the immune system.

        United States Senators agree. In a recent letter from nineteen Senators to the United

 States Department of Health and Human Services, the Senators explained that “Americans need

 to be armed [against COVID-19] with the most complete information as possible.” (Letter from

 Jeanne Shaheen, et al. to Andrew Wheeler, Acting Adm’r of the EPA, 1 (June 26, 2020),

 available at https://tinyurl.com/ycxl49nr.) This includes understanding “the relationship

 between PFAS exposure and the incidence of COVID-19,” which “is one area where more

 research is needed.” (Id.) The Senators stressed that it is “vital to gain a better understanding of

 how exposure to PFAS can impact the risks of contracting COVID-19, as well as the risks of

 COVID-19 complications or even death.” (Id.)

        But even before the pandemic, experts were calling for increased PFAS research. For

 example, experts with Harvard Law School, whose “research is used to develop vaccines and

 cures for cancer,” urged the EPA to reject a rule that would limit their research. (Letter from

 Wendy B. Jacobs, et al., Emmett Envtl. L. & Pol’y Clinic, to Andrew Wheeler, Acting Adm’r of

 the EPA, 2 (Aug. 7, 2018).) These experts emphasized the need for the EPA “to address new

 and emerging public health risks” through epidemiological studies, including the immunotoxicity

 of PFAS. (Id. at 8 (citing Philippe Grandjean, Delayed Discovery, Dissemination, and Decisions

 on Intervention in Environmental Health: A Case Study on Immunotoxicity of Perfluorinated

 Alkylate Substances, 17 Envtl. Health 1, 1 (2018), https://tinyurl.com/y8raxte8).)

        Even Defendant 3M’s own Dr. Denise Rutherford explained in written testimony to

 Congress that more research is needed to understand the adverse health risks of PFAS on




                                                  17
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 30 of 68 PAGEID #: 1510




 humans. (See Hearing on The Devil They Knew—PFAS Contamination and the Need for

 Corporate Accountability, Part II Before the Subcomm. on Env’t of the H. Comm. on Oversight

 & Reform, 116th Cong. 1–5 (2019) (written responses to committee questions of Denise

 Rutherford, Senior VP of Corp. Affairs, 3M), https://tinyurl.com/yd6st3om (trying to discredit

 current research and explaining that “[a] broad range of methodological perspectives and

 tools . . . are needed to make [a causation] determination.”); see also PFAS—Per- and

 Polyfluoroalkyl Substances, Section 7.1.5, Interstate Tech. & Reg. Council (last updated Apr. 14,

 2020), https://tinyurl.com/ydyhhte2 (detailing the need for more PFAS studies to fill the gaps in

 the emerging research).)

        In sum, the scientific community agrees that, although the C8 Science Panel and C8

 Medical Programs helped to address issues of PFOA risk, additional and larger studies are

 needed to better understand the cumulative effects of all PFAS on humans—and the effects of

 this PFAS on human immune systems and our body’s response to vaccines. Given the current

 pandemic, this call to action is now more urgent than ever.

 E.     Policymakers Agree that PFAS Represents a Significant Public Health Problem.

        After years of being misled and deceived by Defendants, policymakers throughout the

 world now recognize PFAS as a significant public health problem that requires immediate action.

        In May 2019, following widespread acceptance within the worldwide scientific

 community of the work of the independent C8 Science Panel and C8 Medical Program, the

 parties to the Stockholm Convention on Persistent Organic Pollutants (the “Stockholm

 Convention”) agreed to eliminate, with limited exceptions, the production and use of PFOA, its

 salts, and PFOA-related compounds. (Report of the Conference 16–17 (2019); Chemicals listed

 in Annex A, Stockholm Convention, https://tinyurl.com/yalfyydx (last visited July 28, 2020).)

 The Stockholm Convention has 184 parties, including the European Union and countries ranging


                                                 18
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 31 of 68 PAGEID #: 1511




 from Australia to Uruguay. (Status of ratification, Stockholm Convention,

 https://tinyurl.com/y95lydzq (last visited July 28, 2020).)

        On April 8, 2020, the European Commission adopted a regulation implementing the

 decision under the Stockholm Convention. (European Comm’n Delegated Reg.

 C(2020)1973/F1, https://tinyurl.com/y7wqdlec.) The regulation requires the member states of

 the European Union to eliminate, with limited exceptions, the production, use, and export of

 PFOA, its salts, and PFOA-related compounds. (See id.)

        Similarly, Canada has listed PFOS, PFOA, and long-chain perfluorocarboxylic acids

 (“LC-PFCAs”) to the country’s list of toxic substances. (List of toxic substances managed under

 Canadian Environmental Protection Act, Gov’t of Can., https://tinyurl.com/yakzdzug (last

 modified Jan. 21, 2020).) Canada has committed to “virtually eliminate PFOS” and has tightly

 limited the manufacture, use, sale, and import of PFOA and LC-PFCAs. (Toxic substances list:

 PFOS, Gov’t of Can., https://tinyurl.com/ybbfeen5 (last modified Mar. 2, 2020); Toxic

 substances list: long-chain perfluorocarboxylic acids, Gov’t of Can.,

 https://tinyurl.com/yaot36lx (last modified Mar. 2, 2020).)

        In the United States, the EPA also has finally recognized the urgent need to address

 PFAS health threats. In 2016, the EPA released extensive analyses of the threats posed to human

 health by PFOA and PFOS (citing the work of the C8 Science Panel), which led to the EPA

 adopting health advisories for PFOA and PFOS (individually or combined) in drinking water of

 no more than 70 parts per trillion (“ppt”). (EPA, Drinking Water Health Advisory for

 Perfluorooctanoic Acid (PFOA) 10 (2016), https://tinyurl.com/y89y52v5; EPA, Drinking Water

 Health Advisory for Perfluorooctane Sulfonate (PFOS) 11 (2016),

 https://tinyurl.com/yac9wyk9.) These advisory levels, however, remain mere unenforceable




                                                 19
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 32 of 68 PAGEID #: 1512




 guidelines while Defendants continue to thwart EPA’s efforts to move forward with formal

 regulatory limits and standards for PFAS. Drinking Water Health Advisories for PFOA and

 PFOS, EPA, https://tinyurl.com/grwoj94 (last updated Feb. 13, 2019).)

        In February 2019, following widespread public outcry at the continuing lack of progress

 setting any enforceable federal safety limits for PFAS, the EPA unveiled a new “PFAS Action

 Plan,” in which it promised to try to expedite action on PFAS. (EPA, EPA’s Per- and

 Polyfluroalkyl Substances (PFAS) Action Plan 1 (2019), https://tinyurl.com/yynmjccc.) In this

 Action Plan, the EPA again recognizes the urgent need to expand toxicity information for PFAS,

 develop new tools to characterize PFAS in the environment, address PFAS in drinking water

 using regulatory and other tools, and develop new tools and materials to communicate about

 PFAS. (Id.) To date, however, the EPA has not been successful on acting on its own urgent call.

 Instead, constant corporate lobbying (trying to stop all PFAS regulation), bureaucratic

 inefficiencies and roadblocks, and budgeting and staffing shortfalls continue to prevent the EPA

 from formally adopting or enforcing any PFAS drinking water limits.

        Given the EPA’s failure to move forward in any meaningful way, much of the research

 and regulatory activity involving PFAS in the United States has advanced at the state level. In

 Ohio, for example, Governor Mike DeWine directed the Ohio EPA and the Ohio Department of

 Health (“ODH”) to analyze the levels of PFAS in Ohio’s drinking water. (Governor DeWine

 Orders Analysis of PFAS in Ohio Drinking Water, Governor of Ohio (Sept. 27, 2019),

 https://tinyurl.com/y8j6m9n6.) Pursuant to that mandate, the Ohio EPA and ODH announced an

 action plan for addressing PFAS in drinking water. (Ohio Releases Statewide PFAS Action Plan

 for Drinking Water, Governor of Ohio (Dec. 2, 2019), https://tinyurl.com/yatprwek.)




                                                 20
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 33 of 68 PAGEID #: 1513




        Ohio leaders have moved quickly to develop the plan. As former ODH Director Dr. Amy

 Acton explained: “The science is still evolving regarding PFAS chemicals, but we know that

 certain people like unborn babies, infants and children are at higher risk for negative health

 effects if exposed to them.” (Id.; see also Bilott Decl., ¶ 18, Exs. 119–21.) Among other

 objectives, the plan calls for the Ohio EPA to coordinate sampling of water systems serving

 approximately 90% of Ohio’s population—and for the ODH to evaluate the sampling results

 while helping local officials and private water system owners respond to potential PFAS

 contamination. (Ohio EPA & ODH, Ohio Per- and Polyfluoroalkyl Substances (PFAS) Action

 Plan for Drinking Water 4 (2019), https://tinyurl.com/ya2jd4hs.)

        Likewise, in Michigan, Governor Gretchen Whitmer created the Michigan PFAS Action

 Response Team (“MPART”) as a temporary body to investigate sources and locations of PFAS,

 while also protecting drinking water and public health. (Executive Order 2019-03, Office of

 Gov. Whitmer (Feb. 4, 2019), https://tinyurl.com/yc3o5l2q.) Since its formation, MPART has

 identified PFAS in several counties, cities, and towns throughout Michigan. (Id.) And in 2019,

 Governor Whitmer converted MPART into a permanent entity that will continue to address

 PFAS contamination in Michigan—both in humans and the environment. (Id.)

        States have also established or proposed their own enforceable PFAS drinking water

 standards that are more protective than the still-unenforceable EPA guidelines. New Jersey, for

 example, has established maximum contaminant levels (“MCLs”) for PFNA (13 ppt), PFOA (14

 ppt), and PFOS (13 ppt). (N.J. Dep’t of Health, Drinking Water Facts: Per- and Polyfluoroalkyl

 Substances (PFAS) in Drinking Water 2 (2020), https://tinyurl.com/ycybuc7k.) California has

 established response levels of 10 ppt for PFOA and 40 ppt for PFOS—and notification levels of

 5.1 ppt for PFOA and 6.5 ppt for PFOS. (Cal. Water Bds., Media Release, Response Levels




                                                 21
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 34 of 68 PAGEID #: 1514




 Lowered for Water Systems Statewide as PFAS Investigation Continues 1 (2020),

 https://tinyurl.com/y7jr9v3t.) Vermont established a combined MCL for PFOA, PFOS, PFHxS,

 PFHpA, and PFNA of 20 ppt. (Vt. Dep’t of Health, PFAS in Drinking Water 2 (2019),

 https://tinyurl.com/ybnnmb8r; Vt. Dep’t Envtl. Conservation, https://tinyurl.com/yaygjlzr (last

 visited July 28 2020).) New Hampshire established MCLs for PFHxS (18 ppt), PFNA (11 ppt),

 PFOS (15 ppt), and PFOA (12 ppt). (N.H. Code Admin. R. Env-Dw 705.06.)6 And Michigan is

 in the process of creating MCLs for several PFAS, including PFNA (6 ppt), PFOA (8 ppt), PFOS

 (16 ppt), and GenX (370 ppt). (Michigan moves forward on drinking water standards for PFAS,

 Mich. Dep’t of Env’t., Great Lakes, & Energy (Oct. 11, 2019), https://tinyurl.com/v8uql73.)

 New York also just announced the adoption of new MCLs for PFOA (10 ppt) and PFOS (10 ppt)

 on July 30, 2020. (Governor Cuomo Announces First in the Nation Drinking Water Standard,

 https://tinyurl.com/yy6x8fxz (last visited July 30, 2020).)

 F.     A Nationwide Approach is needed to Study the Health Effects of PFAS and to
        Address PFAS Contamination.

        Constant industry lobbying and budget cuts have effectively stopped the EPA from

 moving forward to address the PFAS threat in any meaningful, comprehensive way. And despite

 their recognition of the urgent health threat and considerable efforts to address the widespread

 PFAS contamination in their jurisdictions, individual states are simply not equipped financially

 or scientifically to confront and address this problem in a comprehensive, nationwide manner.

 (See, e.g., Governor DeWine Orders Analysis of PFAS in Ohio Drinking Water, Governor of

 Ohio (Sept. 27, 2019), https://tinyurl.com/y8j6m9n6.) Considerable study is still needed to


 6
   Amazingly, Defendant 3M actually sued to stop New Hampshire from enforcing its laws
 designed to protect its citizen from PFAS. (Bilott Decl., ¶ 18, Ex. 123 at 1–2, 4–7, 25–26.) It is
 hard to imagine a more blatant and shameful display of unabashed contempt for those daring to
 try to take action to protect people from PFAS exposures.


                                                 22
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 35 of 68 PAGEID #: 1515




 confirm all of the adverse health effects and risks caused by PFAS accumulating in human blood

 and bodies all across this country.

        In the ATSDR Profile, for example, the United States Department of Health and Human

 Services observed numerous areas where additional research is needed to better confirm the

 cumulative effects of PFAS on human health. (See ATSDR Profile, 633–38.) Although studies

 are available, “there is a need for additional studies to address data gaps.” (Id. at 634.) The

 Department of Defense agrees—explaining that “PFAS is a national issue that requires national

 solutions.” (Dep’t of Defense Remediation Plan for Cleanup of Water Impacted with

 Perfluotooctane Sulfonate or Perfluorooctanoic Acid (June 2020), https://tinyurl.com/y856uthh.)

        Likewise, the National Institute of Environmental Health Sciences (“NIEHS”) notes that,

 in general, possible human health effects of chemical compounds are hard to study; this is

 especially true for PFAS given the thousands of variations in PFAS chemicals.” (Perfluoroalkyl

 and Polyfluoroalkyl Substances (PFAS), Nat’l Inst. of Envtl. Health Scis.,

 https://tinyurl.com/y9ocy4ay (last visited July 28, 2020).) While the NIEHS acknowledges that

 awareness about the potential health effects of PFAS has grown, additional studies are still

 needed because “many questions remain unanswered.” (Id.)

        Dr. Linda S. Birnbaum, the former director of the NIEHS and the National Toxicology

 Program (“NTP”), recently confirmed the need for additional research in several PFAS-related

 areas. For example, she stressed the need for more research about the health effects of human

 exposure to lesser-studied types of PFAS, including mixtures of PFAS. (Hearing on Examining

 the Federal response to the risks associated with per- and polyfluoroalkyl substances (PFAS)

 Before the S. Comm. on the Env’t & Pub. Works, 116th Cong. 4–5, 12–13 (2019) (statement of

 Linda S. Birnbaum, Dir. NIEHS & NTP, Nat’l Institutes of Health), https://tinyurl.com/y7jsobqa;




                                                  23
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 36 of 68 PAGEID #: 1516




 Hearing on The Federal Role in the Toxic PFAS Chemical Crisis Before the Subcomm. on Fed.

 Spending Oversight & Emergency Mgmt. of the S. Comm. on Homeland Sec. & Governmental

 Affairs, 115th Cong. 5, 11–12 (2018) (statement of Linda S. Birnbaum, Dir. NIEHS & NTP,

 Nat’l Institutes of Health), https://tinyurl.com/y7ofcdmx.)

        Other doctors agree. In October 2017, Dr. Patrick N. Breyesse, the director of the

 ATSDR and the Centers for Disease Control and Prevention’s (“CDC”) National Center for

 Environmental Health, described PFAS as “one of the most seminal public health challenges for

 the next decades.” (Christopher Knaus, Toxic firefighting chemicals ‘the most seminal public

 health challenge,’ The Guardian (Oct. 18, 2017), https://tinyurl.com/ybezp4u9.) Dr. Breyesse

 explained that “hundreds of millions of Americans will be drinking water with levels of these

 chemicals above levels of concern.” (Id.) And in a March 24, 2020 presentation for the

 International Society for Exposure Science, Dr. Breyesse continued his call to action on PFAS;

 emphasizing that more studies are needed to understand the full scope of the public health

 challenges of PFAS. Like Dr. Birnbaum, Dr. Breyesse stressed that scientists need to better

 understand how mixtures of PFAS affect human health. (Bilott Decl., ¶ 17.) Dr. Breyesse

 further explained that additional studies are required to understand the connections between

 PFAS and cancer, cardiovascular health, immune capacity, and children’s developmental health.

 (Id. at 50:57 to 52:16.) But the ATSDR and the CDC cannot undertake these studies alone. As

 Dr. Breyesse noted, these studies require collaboration and extensive funding—something these

 agencies simply do not have. (See id. at 52:16 to 53:02.)

        The global scientific community also agrees. In a statement published in Environmental

 Health Perspectives, scientists and researchers across the world urged governments to limit the

 production and use of PFAS and, among other things, require PFAS manufacturers to conduct




                                                 24
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 37 of 68 PAGEID #: 1517




 more extensive toxicological testing of their chemicals. (Arlene Blum, et al., The Madrid

 Statement on Poly- and Perfluoroalkyl Substances (PFASs), 123 Envtl. Health Persp. A 107, A

 107 (2015), https://tinyurl.com/yczd5ycx.)

        Elected officials and policymakers at the state level also have identified the pressing need

 for additional studies. (E.g., Health, Mich. PFAS Action Response Team,

 https://tinyurl.com/ycrhlqbb (last visited July 28, 2020) (identifying the need for additional

 research about the health effects of PFAS exposure).) State officials recognize that additional

 research is needed to better understand the effects of new, short-chain PFAS on human health.

 (E.g., Health Effects and Recommendations, Frequently Asked Questions, Mich. PFAS Action

 Response Team, https://tinyurl.com/y8wfdab4 (last visited July 28, 2020) (“New PFAS have

 been developed and are in use and may be less persistent in the environment. However, more

 scientific research is needed to determine if these new PFAS could be a health concern.”).)

        So have many scientific experts in courts across the country. These scientists have now

 consistently testified that “PFASs pose a substantial present and potential hazard to human

 health” that threaten “virtually all Americans.” (Bilott Decl., ¶ 18, Ex. 124.)

        But well-developed scientific studies are expensive. For example, the collection of raw

 blood samples for the C8 Science Panel studies on just one PFAS chemical (PFOA), in one

 community, cost approximately $70 million—and the new epidemiological studies of that data

 by the independent scientists cost another $33 million. (See DuPont, Annual Report, § F-24

 (Form 10-K) (Dec. 31, 2011), https://tinyurl.com/yd9zghhm.) And given the EPA’s failure to

 promulgate enforceable MCLs for PFAS, states are already expending considerable sums to

 develop their own MCLs and to address PFAS contamination in drinking water and other natural

 resources. (E.g., Hearing on The Devil They Knew—PFAS Contamination and the Need for




                                                  25
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 38 of 68 PAGEID #: 1518




 Corporate Accountability Before the Subcomm. on Env’t of the H. Comm. on Oversight &

 Reform, 116th Cong. 4 (2019) (statement of Steve Silver, Exec. Dir. of MPART),

 https://tinyurl.com/ydyrjs23 (explaining that Michigan “is proceeding to develop [its] own

 standards because the USEPA has not acted in a timely manner” and that Michigan “has already

 allocated $50 million over the past two years to investigate and remediate PFAS contamination

 and to identify responsible parties”); id, 116th Cong. 2 (statement of Robert R. Scott, Comm’r of

 the N.H. Dep’t of Envtl. Servs.), https://tinyurl.com/y9dzhd6h (testifying that New Hampshire

 just promulgated enforceable drinking water standards, a task “better performed at a federal level

 with the national assets afforded to EPA”); id., 116th Cong. 2–3 (statement of Catherine R.

 McCabe, Comm’r of the N.J. Dep’t of Envtl. Prot.), https://tinyurl.com/y8n7rqdl (testifying that

 because of the lack of any national regulatory standard, New Jersey established an MCL for

 PFNA and proposed MCLs for PFOS and PFOA).) Yet even these states that are doing

 everything they can on PFAS lack the resources to engage in the extensive and nationwide

 research needed to properly evaluate all of the human health effects of PFAS exposure. (See,

 e.g., id. (statements of Silver, Scott, and McCabe).)

        Stakeholders, policymakers, and elected officials at the state and federal levels have

 realized this problem. And as a result, they have all urged Congress and the EPA to take

 immediate action on PFAS by funding and conducting more studies and issuing enforceable,

 national standards. Below is a just sampling of the various demands to Congress and the EPA

 that comprehensive, nationwide action be taken to address PFAS:

       The Association of State Drinking Water Administrators (“ASDWA”) wrote to the EPA
        Administrator and to the Director of the CDC and the ATSDR on January 12, 2018,
        requesting that, among other things, the EPA, CDC, and ATSDR “[c]onduct more health
        effects research and develop consistent health effects determinations (risk levels) for
        known and unknown PFAS.” (Bilott Decl., ¶ 18, Ex. 125 at 2.)




                                                  26
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 39 of 68 PAGEID #: 1519




       On March 16, 2018, nine members of Congress wrote to the chairman and the ranking
        member of the Subcommittee on Interior, Environment, and Related Agencies of the
        House Committee on Appropriations urging the subcommittee to more robustly fund the
        ATSDR “so that the agency may better understand the health impacts of increasingly
        prevalent drinking water issues across the country” relating to PFAS contamination. (Id.
        ¶ 18, Ex. 126 at 2.) These congressional members also requested the subcommittee to
        “include report language to require EPA to publish a maximum contaminant level goal
        and promulgate a national primary drinking water regulation for perfluorinated
        compounds (including perfluorooctanesulfonic acid and perfluorooctanoic acid) under the
        Safe Drinking Water Act [SDWA].” (Id.)

       The Ohio Environmental Council petitioned the EPA on April 10, 2018, to promulgate
        regulations under the Clean Water Act and the SDWA setting enforceable limits on
        PFOA (14 ppt) and other PFAS (70 ppt) in water supplies. (Id. ¶ 18, Ex. 127 at 5.)

       The New Jersey Department of Environmental Protection wrote to the EPA
        Administrator on June 21, 2018, requesting that the EPA add PFAS to the national
        hazardous substance list, set enforceable drinking water standards for PFAS, and conduct
        additional research to develop and provide toxicity and risk information for a broader
        range of PFAS compounds. (Id. ¶ 18, Ex. 122 at 4–5.)

       Several members of Congress wrote to the Acting Administrator of the EPA on July 17,
        2018, to urge the EPA to reevaluate the agency’s PFOA and PFOS health advisories in
        light of the 2018 ATSDR Profile. The Profile established the minimal risk level for
        PFOA and PFOS at 10 ppt, seven times less than the EPA health advisory levels. (Id.
        ¶ 18, Ex. 128 at 1.)

       A group of US Senators wrote to the Acting Administrator of the EPA on February 1,
        2019, to urge the agency to establish enforceable federal drinking water standards for
        PFOA and PFOS. Enforceable federal standards are critical to addressing public
        concerns about PFAS, the Senators wrote, because such standards would “allow for states
        to focus their efforts and limited resources on implementation and compliance
        assurance.” (Id. ¶ 18, Ex. 129 at 1.)

       The ranking members of the Senate Committees on Environment and Public Works,
        Health, Education, Labor and Pensions, Homeland Security and Governmental Affairs,
        and Armed Services wrote to the Administrator of the EPA on March 6, 2019, requesting
        documents relating to the EPA’s PFAS Action Plan because the plan failed to “include a
        commitment to promulgate a drinking water standard for PFOA and PFOS” and the
        EPA’s failure to timely release its groundwater cleanup guidelines for PFOA and PFOS.
        (Id. ¶ 18, Ex. 130 at 1.)

       The ranking member of the Senate Committee on Environment and Public Works wrote
        to the EPA Administrator encouraging him to reject the proposals of other agencies to
        weaken the EPA’s PFAS groundwater cleanup standards and to adopt guidelines that are
        sufficiently protective of human health and the environment. (Id. ¶ 18, Ex. 131 at 1–2.)


                                               27
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 40 of 68 PAGEID #: 1520




       The Northeast Committee on the Environment, which comprises the environmental
        commissioners of Connecticut, Maine, Massachusetts, New Hampshire, New York,
        Rhode Island, and Vermont, wrote to the chairman and the ranking member of the Senate
        Committee on Environment and Public Works to identify five PFAS-related issues
        requiring immediate federal action. (Id. ¶ 18, Ex. 132 at 1–2.) The commissioners said
        that the EPA should (1) establish a national MCL that fully protects the public from
        PFAS exposure in drinking water as soon as possible, (2) regulate PFAS as a class, and
        not as individual chemicals, (3) amend its regulations to treat PFAS as hazardous
        substances under the Comprehensive Environmental Response, Compensation, and
        Liability Act (“CERCLA”), (4) expedite the development and dissemination of analytical
        methods and treatment technologies that extend beyond drinking water, and (5) minimize
        or eliminate the use of PFAS in commercial and industrial applications. (Id.)

       The attorneys generals for twenty states, the District of Columbia, and Guam wrote to the
        leadership of the Senate and House of Representatives urging Congress to, among other
        things, designate certain PFAS as hazardous substances under CERCLA, direct the
        United States Geological Survey (“USGS”) to conduct a nationwide sampling effort and
        survey of human and environmental exposure to PFAS, and establish a medical screening
        process for individuals who may have been exposed to PFAS. (Id. ¶ 18, Ex. 133 at 2–4.)

       The Governors of fifteen states wrote to the chairman and ranking members of the House
        and Senate Armed Services Committees urging them to include in the final version of the
        2020 National Defense Authorization Act (“NDAA”) provisions addressing PFAS
        contamination. (Id. ¶ 18, Ex. 134 at 2.) The Governors requested that the NDAA
        (i) require the EPA to set an enforceable, nationwide drinking water standard for PFOA
        and PFOS, (ii) require the EPA to list PFAS as hazardous substances under CERCLA,
        (iii) authorize the USGS to develop advanced testing methods capable of detecting PFAS
        and to conduct nationwide sampling for PFAS. (Id.)

       The Ranking Member of the Senate Environment and Public Works Committee wrote the
        Administrator of the EPA for information about the EPA’s plan to address PFAS in
        Superfund sites. (Id. ¶ 18, Ex. 135 at 1.) In a 2019 hearing, the EPA identified 180
        Superfunds containing PFAS. The EPA did not explain, however, the level of
        contamination at each site, the specific PFAS chemicals found at each site, or how the
        EPA intended to address the contamination. (Id.) In addition to requesting information
        about the EPA’s plan to address the contamination, the Ranking Member also asked the
        Administrator to describe whether the EPA has the authority under CERCLA to order or
        conduct the cleanup and whether the EPA’s authority would change if PFOS and PFOA
        were designated as hazardous substances under CERCLA. (Id. at 3.)

       Members of Congress wrote to the chairman and the ranking member of the House
        Armed Service Committee on May 26, 2020, urging them to “take this crisis [of PFAS
        contamination] seriously and ensure strong provisions on PFAS clean-up are included in
        any final FY2021 National Defense Authorization Act.” (Id. ¶ 18, Ex. 136 at 2.)



                                               28
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 41 of 68 PAGEID #: 1521




         On June 10, 2020, the attorneys generals for twenty-one states and the District of
          Columbia wrote the EPA Administrator to comment on the agency’s Preliminary
          Regulatory Determinations for Contaminants on the Fourth Drinking Water Contaminant
          List. (Id. ¶ 18, Ex. 137 at 1.) The attorneys generals explained that they support the
          EPA’s preliminary determination to set National Primary Drinking Water Regulations
          (“NPDWRs”) for PFOA and PFOS—and that they agree those chemicals meet the
          statutory criteria for regulation under the SDWA. (Id. at 3.) The attorneys generals
          encouraged the EPA to set a NPDWR and MCL for a combined concentration of PFOA
          and PFOS “that is much lower than the current federal Health Advisory Level of 70 ppt
          and is appropriately protective of human health.” (Id. at 15.) They further requested that
          the EPA evaluate approaches to regulate PFAS under the SDWA as a class, rather than as
          individual chemicals. (Id. at 18.) And the attorneys generals urged the EPA to
          promulgate final NPDWRs “as soon as possible to protect public health, but no later than
          18 months from the time the final determination to regulate is made.” (Id. at 3.)7

 G.       Defendants Have Impeded Efforts to Regulate and Study PFAS at the
          Federal Level.

          Despite the widespread and largely bipartisan call for immediate action on PFAS, neither

 the EPA nor Congress has been able to move forward to comprehensively study or address PFAS

 contamination in any way that Defendants agree sufficiently addresses the issue of whether

 PFAS cause disease or present any health threat to humans. Nor has the Federal Government

 conducted any studies on the effects of PFAS on human health in a manner sufficient (according

 to Defendants) to confirm the severity and scope of this massive public health threat. Instead,


 7
   This widespread call-to-action on PFAS is consistent with the current response to the COVID-
 19 pandemic. “It is the policy of the United States to take proactive measures to prepare for and
 respond to public health threats.” (Donald J. Trump, Presidential Memo. on Expanding State-
 Approved Diagnostic Tests (Mar. 13, 2020), https://tinyurl.com/y89jrzfw.) These measures have
 included expansive testing and the use of the Defense Production Act (“DPA”) to secure all
 health and medical resources and services needed to combat the health crisis. (See, e.g., Donald
 J. Trump, Executive Order on Delegating Authority under the DPA with Respect to Food Supply
 Chain Resources During the Nat’l Emergency Caused by the Outbreak of COVID-19 (Apr. 28,
 2020), https://tinyurl.com/y77zwkoh; Alice M. Ollstein, Trump Invokes DPA for Testing Swabs,
 Weeks After Reported Shortages, Politico (Apr. 19, 2020), https://tinyurl.com/ybtn564z.) In fact,
 Defendant 3M knows well the importance of taking proactive measures to protect Americans
 during a health crisis. (Donald J. Trump, Presidential Memo. on Order Under the DPA
 Regarding 3M Co. (Apr. 2, 2020), https://tinyurl.com/y955uoym (ordering the production of N-
 95 respirators).) The requested relief that the proposed class seeks here will similarly address the
 PFAS health crisis that Defendants created.


                                                  29
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 42 of 68 PAGEID #: 1522




 the EPA issued only unenforceable health advisories for PFOA and PFOS in drinking water—

 and even that was now more than four years ago. (Drinking Water Health Advisories for PFOA

 and PFOS, EPA, https://tinyurl.com/grwoj94 (last updated Feb. 13, 2019).)

        Since then, the EPA has not updated the advisories or promulgated any enforceable limits

 for PFOA, PFOS, or any other type of PFAS in drinking water. (See id.) Numerous bills to

 address PFAS contamination have been introduced in Congress. (See Bilott Decl., ¶ 18, Ex. 138

 at 12–15.) Yet after considerable pushback and lobbying, few bills have made it through to

 become law (or to provide any research funding that Defendants say is sufficient to confirm the

 health impacts of PFAS). (See id.) In short, all of the efforts to date through the executive and

 legislative branches of government to address the massive public health threat caused by

 Defendants’ PFAS contamination have failed, leaving resort to judicial relief as the only option.

        These total failures of the legislative and executive branches on PFAS are not surprising.

 Defendants continue to spread misinformation about PFAS through extensive lobbying and

 public relations campaigns. (See, e.g., Bilott Decl., ¶ 18, Ex. 82 at 1–6, Ex. 139.) Indeed,

 Defendants continue to use trade organizations and lobbying groups to promote their false

 narrative—pretending that there is no evidence to justify any regulations or laws on any PFAS

 chemical—including PFOA—and that each of the thousands of PFAS is unique and, therefore,

 must be studied and regulated separately.8 Through such “manufacturing of doubt” and alleged


 8
   The scientific community expressly contradicts this argument by Defendants. See, e.g., Carol
 F. Kwiatkowski, et al., Scientific Basis for Managing PFAS as a Chemical Class, Envtl. Science
 & Tech. Letters, at D (June 30, 2020), https://tinyurl.com/yb4bv8eh (explaining why “some
 manufacturers” are wrong for “propos[ing] that fluoropolymers should not be grouped with other
 PFAS for regulatory purposes”).) Researchers now explain that there is “a scientific basis for
 managing as one chemical class the thousands of chemicals known as PFAS.” (Id. at A.) These
 researchers believe that singular treatment of all PFAS chemicals is warranted because long-
 chain and short-chain PFAS share common physicochemical, environmental, and toxicological
 properties—and believe they cause the same or similar health risks in humans. (Id. at A–D.)


                                                 30
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 43 of 68 PAGEID #: 1523




 uncertainty, Defendants push the narrative that, even if one believed that there was enough

 evidence to suggest that PFOA, PFOS, or other long-chain PFAS pose risks to human health,

 there is still not enough evidence to suggest that newer short-chain PFAS pose those same risks.

 (See, e.g., id. ¶ 18, Ex. 82 at 1–6, Exs. 140–41, Ex. 142 at 1–2.)

        Yet, to this date, Defendants claim to promote a “science-based” approach to addressing

 PFAS. (E.g., ACC Testifies on PFAS Chemistries at Senate EPW Hearing, Am. Chemistry

 Council (May 22, 2019), https://tinyurl.com/y9t24kfe.) But rather than support independent

 studies that could address the data gaps they claim exist on PFAS, Defendants fund research that

 supports their narrative—and only their narrative—while attacking any contradictory data and

 research. (See, e.g., ACC Responds to EWG’s Report on ‘Forever Chemicals’ in America’s

 Drinking Water, Am. Chemistry Council (Jan. 22, 2020), https://tinyurl.com/y7m7ube2;

 FluoroCouncil Supports Science-Based Policy for Long-Chain Perfluorinated Substances, Am.

 Chemistry Council (May 1, 2015), https://tinyurl.com/ybp3mw4s; Scientific Leadership, Am.

 Chemistry Council, https://tinyurl.com/yc2ufc3j (last visited July 28, 2020).) Defendants even

 went so far as to try to improperly subpoena all of the confidential medical data reviewed by the

 C8 Science Panel so that they could have their paid litigation experts publish papers to attack,

 malign, and undermine the results and credibility of this world-class independent work as junk

 science. (Bilott Decl. ¶ 18, Exs. 143–44.) In doing so, Defendants have made clear that they

 continue to intend to perpetuate the completely false narrative that no credible scientific links

 have been established between any PFAS and any human disease—while attacking anyone who

 dares say otherwise.9 (Id.)



 9
   Defendants eventually withdrew their subpoena, but only after the plaintiffs in the multi-district
 litigation (“MDL”) moved for a protective order and explained to the court that Defendants’
 request was in flagrant violation of multiple orders entered by the West Virginia Circuit Court of


                                                  31
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 44 of 68 PAGEID #: 1524




                                   PROCEDURAL HISTORY

        Mr. Hardwick now brings this lawsuit to force Defendants to do what they have been

 avoiding for decades: confirm the cumulative and synergistic effects of their PFAS on human

 health and monitor those individuals whose blood and bodies have been contaminated.

 Mr. Hardwick brings this lawsuit on behalf of himself and a class of “all individuals residing

 within the United States at the time of class certification for one year or more since 1977 with at

 least 0.05 parts per trillion (ppt) or more of PFOA and 0.05 ppt of any other PFAS chemical in

 their blood,” all of whom seek the same common injunctive and equitable relief in this regard.

        The harm in this case is significant and extensive, and the need for class certification is

 pressing. Mr. Hardwick and the potential class members have an increased risk of disease

 because of the contamination of their blood and bodies. While some risks are known (such as

 those related to PFOA), others are not. For example, additional study is needed to understand

 the synergistic effects of exposure to multiple types of PFAS. Mr. Hardwick and the potential

 class members seek urgent and comprehensive medical monitoring and studies about the effects

 of PFAS on human health. Cf. In re Fernald Litig., No. C-1-85-149, 1989 WL 267039, at *10

 (S.D. Ohio Sept. 29, 1989) (finding that the public interest is served by establishing medical

 monitoring and an epidemiological study “as soon as possible” rather than “prolonging their

 implementation until after a trial on the merits and any appeals have run their course”). Given

 the COVID-19 pandemic and the association between PFAS exposure and decreased human

 immune response, the need for more studies is even more pressing.




 Wood County in Leach v. E. I. du Pont de Nemours & Co., No. 01-C-608, which shield such
 data from discovery. (Bilott Decl., ¶ 18, Ex. 143 at 1, Ex. 145 at 1.)


                                                 32
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 45 of 68 PAGEID #: 1525




        Defendants initially tried to get Mr. Hardwick’s case dismissed on three grounds:

 (1) failure to state a claim; (2) lack of subject matter jurisdiction; and (3) and lack of personal

 jurisdiction. (Or. & Opinion, [ECF No. 128] at PageID #841.) The Court denied all of those

 Motions. (Id.) In doing so, the Court rejected Defendants’ argument that accumulation of

 Defendants’ PFAS in human blood and bodies does not create an identifiable injury. Instead, the

 Court found Mr. Hardwick’s alleged injury sufficient to support his claims that: PFAS are toxic,

 bioaccumulative and persistent; Defendants created, released, and exposed Mr. Hardwick to

 PFAS; and the exposure, accumulation and persistence of PFAS in Mr. Hardwick increased his

 risk of disease. (Id. at PageID #849.) Mr. Hardwick shares this same injury and claims with the

 entire proposed class. (First Am. Compl., [ECF No. 96] ¶¶ 70–73, 131.)

        The Court also explained that Mr. Hardwick’s requested injunctive relief—scientific

 study and related medical testing and monitoring—are available remedies to combat Defendants’

 tortious conduct. (Or. & Opinion, [ECF No. 128] at PageID #851–55.) The proposed class asks

 for the same, common relief in this regard. (First Am. Compl., [ECF No. 96] ¶¶ 132–33.)

 Finally, the Court found that Mr. Hardwick’s allegations supported personal jurisdiction over

 each Defendant. (Or. & Opinion, [ECF No. 128] at PageID #866.)

        Upset with the Court’s decision, Defendants tried to transfer the case away from this

 Court to the MDL on aqueous film-forming foams (AFFF) in South Carolina. (Bilott Decl. ¶ 18,

 Ex. 146 at 1.) Defendants attempted to characterize this case as just “an individual action for

 medical monitoring by a single firefighter allegedly exposed to PFAS contained in AFFF

 products.” (Id.) But the Judicial Panel on Multidistrict Litigation (JPML) saw through

 Defendants’ veiled attempt to escape this Court and denied the transfer request. In doing so, the

 JPML recognized this case for what it really is: a class action about PFAS (not AFFF). (Id.)




                                                   33
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 46 of 68 PAGEID #: 1526




        So defeated once again with the JPML, Defendants tried a new delay tactic. In the

 parties’ Rule 26(f) Report, Defendants insisted that Mr. Hardwick not be permitted to move for

 class certification until at least September 30, 2020. (Rule 26(f) Report, [ECF No. 147] at

 PageID #1407.) During a later conference call with counsel, Defendants took this position

 further, insisting that Mr. Hardwick not be permitted to move for class certification until at least

 February 1, 2021. Perhaps recognizing the unreasonableness of their position, Defendants

 dropped their “filing window” argument and asked the Court in their May 22, 2020 letter

 briefing to grant them 180 days to respond to a motion for class certification if Mr. Hardwick

 filed his motion before January 31, 2021, and 90 days to respond if Mr. Hardwick filed his

 motion after that date. (Bilott Decl., ¶ 18, Ex. 147 at 1.) In his letter briefing, Mr. Hardwick

 asked the Court to reject any artificial delay to class certification and allow him to file his motion

 as soon as possible. (Id. ¶ 18, Ex. 148 at 1.) The Court agreed with Mr. Hardwick, explaining

 that Rule 23 “directs the Court to decide class certification ‘[a]t an early practicable time after a

 person sues.” (Order on Timing of Anticipated Class Cert. Mot., [ECF No. 157] at PageID

 #1432.) As a result, Mr. Hardwick could “file his motion for class certification as soon as he is

 prepared to do so.” (Id.) The Court further held that Defendants would have ninety days to

 respond to Mr. Hardwick’s Motion for Class Certification—and not “twice this amount of time .

 . . depending on when [the motion] is filed,” as Defendants had requested. (Id.)

                                            ARGUMENT

        “Federal Rule of Civil Procedure 23 controls certification for class actions.” Cmty.

 Refugee & Immigration Servs. v. Registrar, Ohio Bureau of Motor Vehicles, 334 F.R.D. 493, 501

 (S.D. Ohio 2020). Rule 23 contains two steps to certify a class. A district court must first

 determine whether the proposed class meets all the requirements of Rule 23(a). In re Am. Med.




                                                   34
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 47 of 68 PAGEID #: 1527




 Sys., Inc., 75 F.3d 1069, 1079 (6th Cir. 1996). Rule 23(a) contains four factors: “(1) numerosity,

 (2) commonality, (3) typicality, and (4) adequacy of representation.” Cmty. Refugee, 334 F.R.D.

 at 502. If those four conditions are satisfied, the district court must then determine whether the

 proposed class “falls within at least one of the subcategories of Rule 23(b).” In re Am. Med.

 Sys., 75 F.3d at 1079. As long as the district court works within this Rule 23 framework, it “has

 broad discretion in deciding whether to certify a class.” Id.

         “The district court, however, is not permitted to inquire into a case’s merits at the class

 certification stage.” Cmty. Refugee, 334 F.R.D. at 502 (citing Eisen v. Carlisle & Jacquelin, 417

 U.S. 156, 177–78 (1974)). This prevents a district court from “turn[ing] the class certification

 proceedings into a dress rehearsal for the trial on the merits.’” In re Whirlpool Corp. Front-

 Loading Washer Prod. Liability Litigation, 722 F.3d 838, 851–52 (6th Cir. 2013) (quoting

 Messner v. Northshore Univ. HealthSys., 669 F.3d 802, 811 (7th Cir. 2012)). For example, at the

 class-certification stage, a named plaintiff is not required to show “that all or most class members

 were in fact injured.” Rikos Procter & Gamble Co., 799 F.3d 497, 505 (6th Cir. 2015) (relying

 on Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–50 (2011)). Instead, the named plaintiff

 must show only “that there is a common question that will yield a common answer for the class

 (to be resolved later at the merits stage), and that that common answer relates to the actual theory

 of liability in the case.” Id.

         Applying these principles, Mr. Hardwick’s proposed class satisfies the four factors in

 Rule 23(a)—and it falls within Rule 23(b)(2). As a result, it is respectfully submitted that the

 Court should certify the class.




                                                  35
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 48 of 68 PAGEID #: 1528




 I.     The Proposed Class Meets the Requirements of Rule 23(a).

        Plaintiff has the burden to adequately define the proposed class. McGee v. East Ohio

 Gas Co., 200 F.R.D. 382, 387 (S.D. Ohio 2001). But “[h]ow narrowly or broad a class may be

 defined depends largely on the relief sought.” Coleman v. Gen. Motors Acceptance Corp., 220

 F.R.D. 64, 90 (M.D. Tenn. 2004) (relying on 2 Newberg on Class Actions § 6:15 (5th ed.)).

 When, as here, the proposed class is seeking only injunctive, equitable, and declaratory relief

 (rather than compensatory damages), the class definition does not require much precision (if any

 at all). See Cole v. Memphis, 839 F.3d 530, 541–42 (6th Cir. 2016) (explaining that a Rule

 23(b)(2) class need not satisfy the implicit “ascertainability” requirement). Instead, when

 “attempting to define a (b)(2) class,” the proposed class “may in some instances be quite broad in

 scope.” Weathers v. Peters Realty Corp., 499 F.2d 1197, 1200 (6th Cir. 1974).

        Mr. Hardwick provides a sufficient class definition to satisfy the modest requirement of

 Rule 23(b)(2). See Cole, 839 F.3d at 541–42. Mr. Hardwick asks to represent a class of “any

 individual residing within the United States at the time of class certification for one year or more

 since 1977 with at least 0.05 parts per trillion (ppt) or more of PFOA and at least 0.05 ppt or

 more of any other PFAS chemical in their blood serum.” This proposed class defines a particular

 group and a particular harm—i.e., persons with a specific level of PFOA and PFAS in their

 blood. This satisfies the low threshold for classes seeking injunctive relief under Rule 23(b)(2).

 See Weathers, 499 F.2d at 1200; Coleman, 220 F.R.D. at 90; Young v. Nationwide Mut. Ins. Co.,

 693 F.3d 532, 538–39 (6th Cir. 2012) (requiring only a reference to some “objective criteria”).

 With an adequately defined class, the Court can move to the four factors in Rule 23(a).




                                                  36
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 49 of 68 PAGEID #: 1529




        A.      The Class is So Numerous that Joinder of All Members is Impracticable.

        Rule 23(a) requires a showing of numerosity. Fed. R. Civ. P. 23(a)(1). A plaintiff meets

 this requirement if he shows that the class is “so numerous that joinder of all members is

 impracticable.” Id. In other words, numerosity is about numbers. And although “[t]here is no

 bright line numerical test” to satisfy this test, Cmty. Refugee, 334 F.R.D. at 503 (citing Senter v.

 Gen. Motors Corp., 532 F.2d 511, 523 n.24 (6th Cir. 1976)), “[w]hen a class size reaches

 substantial portions, . . . the numerosity requirement is usually satisfied by numbers alone.” Id.

 (citing Am. Med. Sys., 75 F.3d at 1079).

        For example, a potential class easily meets this requirement by “sheer numbers” alone if

 it includes “more than several hundred” class members. Bacon v. Honda of Am. Mfg., Inc., 370

 F.3d 565, 570 (6th Cir. 2004) (meeting numerosity requirement with 800 class members); see

 also Daffin v. Ford Motor Co., 458 F.3d 549, 552 (6th Cir. 2006) (finding that numerosity is

 satisfied because “[t]he proposed class includes thousands of individuals”). In contrast, a

 proposed class fails to satisfy the numerosity requirement when it involves a shockingly small

 number of potential class members; such as five, seven, two, or ten class members. Cash v.

 Swifton Land Corp., 434 F.2d 569, 571 (6th Cir. 1970) (collecting cases). And even “where the

 exact size of the class is not known,” the numerosity requirement is still satisfied where “general

 knowledge and common sense indicate that the class is large.” Phillips v. Philip Morris Cos.,

 298 F.R.D. 355, 362–63 (N.D. Ohio 2014); see also Senter, 532 F.2d at 523 (allowing the district

 court to “consider reasonable inferences drawn from the facts before him at [this] stage”).

        Mr. Hardwick’s proposed class easily meets this requirement. Defendants’ own blood

 serum testing and analysis confirmed what independent scientific researchers and the

 government found—that nearly every American’s blood and/or body is contaminated by PFAS:




                                                  37
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 50 of 68 PAGEID #: 1530




 “PFAS materials are clinically demonstrably present in approximately 99% of the current

 population of the United States.”10 (First Am. Compl., [ECF No. 96] at PageID #574, ¶ 55.)

 As a result, the proposed class is numerous enough to satisfy Rule 23(a)(1) by sheer numbers

 alone.11

        B.      There are Questions of Law and Fact Common to the Class.

        Rule 23(a) also requires commonality. Fed. R. Civ. P. 23(a)(2). A plaintiff meets this

 requirement if there “are questions of law or fact common to the class.” Id. The commonality

 requirement, however, “is qualitative rather that quantitative, that is, there need be only a single

 issue common to all members of the class.” In re Am. Med. Sys., 75 F.3d at 1080 (quoting

 1 Newberg on Class Actions § 3.01 (3d ed. 1992)). At this stage, “the commonality requirement

 will be satisfied as long as the members of the class have allegedly been affected by a general

 policy of the [d]efendant and the general policy is the focus of the litigation.” Cmty. Refugee,

 334 F.R.D. at 503 (quoting Bovee v. Coopers & Lyband, 216 F.R.D. 596, 608 (S.D. Ohio 2003)).

 In contrast, the plaintiff “need not show that all class members have been injured in precisely the

 same way or were in fact injured at all.” Id. (citing Rikos, 799 F.3d at 505); see also Bovee, 216

 F.R.D. at 608 (explaining that “[t]he mere fact that questions peculiar to individual class

 members could remain” does not defeat commonality); Putnam, 169 F.R.D. at 94 (explaining




 10
   This means that the proposed class contains more than 330 million Americans. See U.S.
 Census Bureau, U.S. & World Population Clock, https://www.census.gov/popclock/ (last visited
 July 28, 2020).
 11
   There are, of course, other considerations that courts can evaluate under Rule 23(a)(1). These
 considerations include, among other things, whether the class members “are geographically
 scattered.” Kutschback v. Davies, 885 F. Supp. 1079, 1084 (S.D. Ohio 1995). But this just
 provides additional support that the proposed class is numerous enough. The proposed class is
 geographically scattered across the United States.


                                                  38
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 51 of 68 PAGEID #: 1531




 that “[t]he fact that there are factual differences between the members of the class . . . is of no

 consequence” to the commonality requirement).

        In other words, commonality focuses on Defendants’ conduct—not the proposed class

 members individually. A common question, then, is “one that is ‘capable of class wide

 resolution—which means determination of its truth or falsity will resolve an issue that is central

 to the validity of each one of the claims in one stroke.’”12 Cmty. Refugee, 334 F.R.D. at 504

 (quoting Dukes, 564 U.S. at 350). This requires the plaintiff to simply “enumerate questions of

 law or fact common to the class” that, when answered, “will advance the litigation.” Bovee, 216

 F.R.D. at 608 (citing Sprague v. Gen. Motors Corp., 133 F.3d 388, 397 (6th Cir.1998) (en

 banc)). This is exactly the focus and effect of Mr. Hardwick’s common legal and factual

 questions:

        a.      Whether Defendants owed a duty to Plaintiff and members of the class to
                refrain from acts and/or omissions reasonably likely to result in PFAS in
                the blood of Plaintiff and the members of the class, and the biopersistence
                and bioaccumulation of such PFAS in such blood serum;

        b.      Whether Defendants knew, anticipated, foresaw, and/or should have
                known, anticipated, and/or foreseen that it was unreasonably dangerous to
                engage in acts and/or omissions that resulted in the presence, persistence,
                and accumulation of PFAS in the blood and/or bodies of humans;

        c.      Whether Defendants knew, anticipated, foresaw, and/or should have
                known, anticipated, and/or foreseen that their acts and/or omissions were
                likely to result in Plaintiff and the class members having persistent and
                accumulating PFAS in their blood and/or bodies;

        d.      Whether Defendants’ acts and/or omissions proximately caused PFAS to
                contaminate, persist in, and accumulate in the blood and/or bodies of
                Plaintiff and the class members;

 12
   This requirement creates a much lower burden than the Rule 23(b)(3) predominance showing.
 See Phillips v. Philip Morris Cos., 298 F.R.D. 355, 363 (N.D. Ohio 2014) (citing Cleary v. Philip
 Morris USA, Inc., 265 F.R.D. 289, 292 (N.D. Ill. 2010) (“While this fact, alone, may not be
 sufficient to satisfy the more demanding predominance standard, the common conduct of
 [defendant] satisfies the less demanding Rule 23(a) commonality requirement.”)).


                                                   39
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 52 of 68 PAGEID #: 1532




        e.      Whether the presence, persistence, and accumulation of PFAS in
                Plaintiff’s and class members’ blood and/or bodies and any resultant
                subcellular or other impact and/or effect, is injurious, offensive, and/or
                otherwise harmful to Plaintiff and the class members;

        f.      Whether Defendants’ conduct is resulting in irreparable harm to Plaintiff
                and the class members;

        g.      Whether Defendants’ conduct warrants injunctive and/or declaratory
                relief; and

        h.      Whether a reasonable physician would order medical monitoring under the
                circumstances.

  (See First Am. Compl., [ECF No. 96] at PageID #582–83, ¶ 93.)

        This Court routinely finds that these types of questions satisfy the commonality

 requirement. See, e.g., Bovee, 216 F.R.D. at 608–09. For example, this Court in Bovee found

 that similar questions “easily satisfied” Rule 23(a)(2) when the questions focused on the

 defendants’ conduct. Id. Those questions included: did the defendants’ conduct violate a legal

 duty; did the defendants act knowingly and/or recklessly; did the defendants participate in

 common conduct; and did the defendants’ conduct cause the class to suffer damages. Id.

 (collecting cases). These are the same type of common questions that Mr. Hardwick seeks to

 have answered here.

        Other courts have certified class actions involving similar questions about PFAS

 contamination.13 For example, in Sullivan v. Saint-Gobain Performance Plastics Corp., the


 13
    Federal courts have granted class certification for medical monitoring and research classes in
 other factual contexts, too. See, e.g., In re Nat’l Football League Players Concussion Injury
 Litig., 821 F.3d 410 (3d Cir. 2016) (affirming class certification for former NFL players,
 including testing, medical benefits, treatment, counseling, and research for neurological injuries);
 In re Oil Spill by the Oil Rug Deepwater Horizon, 295 F.R.D. 112 (E.D. La. 2013) (certifying a
 class following exposure from an oil spill, including access to general medical services and the
 expansion of a research library and outreach program); Donovan v. Philip Morris USA, Inc., 268
 F.R.D. 1 (D. Mass. 2010) (certifying a class for medical monitoring of certain smokers with no
 apparent symptoms of lung cancer); In re Telectronics Pacing Sys., Inc., 172 F.R.D. 271, 278
 (S.D. Ohio 1997) (certifying a nationwide medical monitoring class related to pacemakers).


                                                 40
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 53 of 68 PAGEID #: 1533




 district court certified two classes relating to PFAS exposure: plaintiffs with property damage,

 and plaintiffs with identifiable levels of PFAS in their blood. No. 5:16-cv-125, 2019 WL

 8272995 (D. Vt. Aug. 23, 2019) (attached as Ex. A). For the latter, the class members asked for

 “the cost of future medical testing to determine whether a member suffers from health problems

 such as certain cancers associated with exposure to PFOA.” Id. at *3. The district court agreed

 that class-wide adjudication was appropriate because “[t]he common answers to questions of

 liability” about the defendants’ use of PFOA would apply to all plaintiffs. Id. at *5–6. This

 commonality also included, among other things, whether “asymptomatic people exposed to

 PFOA will benefit from medical monitoring and early detection of the illness.” Id. at *6.

        The court reached the same result in Hermens v. Textiles Coated Inc., Nos. 216-2017-

 CV-524 and 216-2017-CV-525 (N.H. Super. Ct. July 20, 2019) (attached as Ex. B). Hermens

 certified the same two classes as Sullivan—a property damage class and a medical monitoring

 class. Id. at 6; see also id. at 7 (noting that New Hampshire’s rules on certifying a class track the

 federal rules). The court likewise explained that common questions and answers about the

 medical monitoring claims applied for the entire class, such as whether exposure to PFOA

 increases certain health risks. Id. at 15–16. The court also distinguished the proposed classes

 from run-of-the-mill personal injury cases, which often fail class certification because they

 involve disparate claims and distinct damages. Id. at 15. In contrast, the class in Hermens

 alleged the same claims and asked for the same relief—medical monitoring. See id.

        This is the same situation here. Mr. Hardwick’s proposed class excludes all personal

 injury claims. (First Am. Compl., [ECF No. 96] at PageID #590, ¶ 132 (“[N]either Plaintiff nor

 the Class are seeking any compensatory damages for personal injuries[.]”).) Instead, Mr.

 Hardwick asks this Court to answer the same general causation and liability questions that




                                                  41
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 54 of 68 PAGEID #: 1534




 supported class certification in both Sullivan and Hermens. (Id. at PageID #582–83, ¶ 93.) And

 Mr. Hardwick asks for the same type of uniform relief applied across the entire class—a single,

 common, class-wide medical monitoring program and scientific studies/scientific panel.14 (Id. at

 PageID #590–91, ¶ 133.) As Sullian and Hermens recognize, these type of common questions

 with common relief are best answered class-wide.

        Many other courts, including the Second Circuit, support the reasoning in Sullivan and

 Hermens. See Benoit, 959 F.3d at 501–02, 508–09. In Benoit, for example, the Second Circuit

 recognized that medical monitoring is an available remedy for a proposed class of plaintiffs,

 referred to as “Accumulation Plaintiffs,” whose alleged injury was that they “have accumulated

 levels of PFOA in their blood.” Id. at 501 (“We conclude that . . . allegations of the physical

 manifestation of or clinically demonstrable presence of toxins in the plaintiff’s body are

 sufficient to ground a claim for personal injury and that for such a claim, if proven, the plaintiff

 may be awarded, as consequential damages for such injury, the costs of medical monitoring.”).

        Likewise, in Burdick v. Tonoga, Inc., the New York court certified what it called a “body

 invasion class” of plaintiffs, all of whom had elevated PFOA accumulation in their blood. 110

 N.Y.S.3d 219, 2018 WL 3355239, at *10, 13 (N.Y. Sup. Ct. July 3, 2018) (table) (attached as



 14
   There is also growing support in academia for the remedy Mr. Hardwick and the class ask for.
 In fact, this type of case—where Defendants actively hid their misconduct and the harmfulness
 of PFAS for decades (and still are)—is perfect for this type of class-wide relief:
        If a plaintiff was injured by a toxin or product, where the defendant chose
        to hide its head in the sand rather than test, she cannot prove this was the
        case. She may lose even where there is evidence the defendant engaged in
        misconduct to prevent or hide research into its products. This Article
        proposes a second-best solution to this problem: a knowledge remedy
        which requires a defendant found to have engaged in misconduct to fund
        independent studies into what risks its products impose.
 (Bilott Decl., ¶ 18, Ex. 149 at 1361, 1378–82 (discussing medical monitoring)).


                                                  42
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 55 of 68 PAGEID #: 1535




 Ex. D), aff’d, 112 N.Y.S.3d 342, 347–48 (N.Y. App. Div. 2019) (allowing the class to “recover

 medical monitoring costs” even though the class contained symptom-free and disease-free

 plaintiffs). The court found “the following issues [,] [which are] relevant to medical

 monitoring[,] common to all class members: whether defendant was negligent in releasing PFOA

 from its facility into the surrounding air, soil and water; whether PFOA is hazardous to human

 health; and whether medical monitoring is available for the diseases linked to PFOA exposure.”

 Id. at *13.

         And most recently, the New Jersey Court of Appeals just affirmed class certification

 against Hoffman-La Roche for its alleged contamination of ground water. Sutton v. Hoffman-La

 Roche Inc., Nos. A-5545–49 (N.J. Super. Ct. App. Div. May 27, 2020) (attached as Ex. E). The

 court rejected the defendants attempt to “finely parse” the plaintiffs’ claims.15 Id. at 20. Instead,

 the court explained that “[c]ommonality was properly found because the claims shared by the

 class arise out of a common set of circumstances: defendants’ chemical releases . . . commingled

 and spread off the [defendants’ property]”—and contaminated the plaintiffs’ property. Id.

 Indeed, the court faced many common questions, including “whether defendants are liable to the

 members of the class for their release of abnormally hazardous substances.” Id. at 19.


 15
   Because the class asked for monetary damages, it was also required to show that “questions of
 law or fact common to the members of the class predominate over any questions affecting only
 individual members.” Sutton, at 28. A showing of predominance is much higher than the mere
 commonality showing Mr. Hardwick is required to meet here. See supra pp. 38–39. But even
 under that heavier burden, the court in Sutton still rejected the defendants’ argument that the
 court would have to perform a plaintiff-by-plaintiff inquiry about individual contamination and
 damages. Sutton, at 29. Even though the court admitted that it may, at some point, need to
 assess individual damage evidence, class certification was still proper because the “plaintiffs’
 causes of action overlap substantially and require common proof relying primarily on evidence
 of the four defendants in creating the contamination, including their historical operations,
 disposal practices and chemical usage.” Id. at 31; see also id. at 32–33 (listing the many
 common questions, such as whether Roche released hazardous chemicals into the groundwater,
 whether Roche was negligent in doing so, and whether other companies contributed).


                                                  43
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 56 of 68 PAGEID #: 1536




        Resolving these common questions are also critical to this class. Regardless of the

 ultimate answers, these questions will resolve the class-wide issues “in one stroke.” See Young,

 693 F.3d at 543–43. This includes whether Defendants were negligent, whether Defendants are

 liable, and whether the requested relief is appropriate. The answers to these common questions

 will absolutely “advance the litigation.” Sprague, 133 F.3d at 397. As a result, any one of these

 common questions “easily satisfies” the commonality requirement in Rule 23(a)(2).

        C.      Mr. Hardwick’s Claims are Typical of the Class Claims.

        Rule 23(a) also requires typicality. Fed. R. Civ. P. 23(a)(3). A plaintiff meets this

 requirement if “the claims or defenses of the representative parties are typical of the claims or

 defenses of the class.” Id. A named plaintiff’s claim is typical “if it arises from the same . . .

 practice or course of conduct that gives rise to the claims of other class members, and if his or

 her claims are based on the same legal theory.” In re Am. Med. Sys., 75 F.3d at 1082 (quoting 1

 Newburg, supra, § 3–13). Or more simply, typicality means that the interests of the named

 plaintiff align with the interests of the class. Id. This alignment ensures that, “in pursuing his

 own claims, the named plaintiff will also advance the interests of the class members.” Id.

        This typicality requirement closely tracks commonality. Indeed, both “requirements are

 closely related because they both help determine whether the claim of the named plaintiff and

 those of the class as so interrelated that the interests of the absent class members will be

 protected.” Cmty. Refugee, 334 F.R.D. at 504. So just like commonality, typicality requires “a

 common element of fact or law.” Id. (citing Beattie v. CenturyTel, Inc., 511 F.3d 554, 561 (6th

 Cir. 2007). But also like commonality, typicality does not require the plaintiff’s claims or

 underlying facts to be identical to those of the class. See Bovee, 216 F.R.D. at 609.




                                                  44
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 57 of 68 PAGEID #: 1537




         Mr. Hardwick’s claims are typical of the class claims because they arise from the same

 tortious conduct: Defendants’ marketing, manufacturing, and releasing of PFAS—causing

 widespread contamination. And Defendants treated Mr. Hardwick no different than every other

 potential class member—they contaminated Americans without distinction. (See First Am.

 Compl., [ECF No. 96] at PageID #575–79, ¶¶ 60–77.) See also Cmty. Refugee, 334 F.R.D. at

 505 (finding typicality where “there is no indication that” Defendant treated different class

 members differently). This is highlighted by the uniform call-to-action by organizations and

 states across the county (and the world). See supra pp. 15–29. No matter where someone lives,

 what they do, or the choices they have made, Defendants’ PFAS have contaminated the blood of

 all the proposed class members just like it has contaminated Mr. Hardwick’s blood. As a result,

 Mr. Hardwick satisfies Rule 23(a)(3) because his claims are identical to the claims of the

 proposed class. Or as the Sixth Circuit puts it, “as goes the claim of the named plaintiff, so go

 the claims of the class.” See Sprague, 133 F3d at 399; see also Sutton, at 22 (“In cases where the

 named plaintiffs and putative class members are impacted by the same unlawful conduct,

 typicality is generally satisfied.”).

         D.      Mr. Hardwick Will Fairly and Adequately Represent the Interests of the Class.

         An additional requirement of Rule 23(a) is adequacy. Fed. R. Civ. P. 23(a)(4). A

 plaintiff meets this requirement if “the representative parties will fairly and adequately protect

 the interests of the class.” Id. Adequacy involves a two-step inquiry: (1) the class

 “representative [has] common interests with the unnamed members of the class,” and (2) he “will

 vigorously prosecute the interests of the class through qualified counsel.” Young, 693 F.3d at

 543. Both requirements are satisfied here.




                                                  45
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 58 of 68 PAGEID #: 1538




                1.      The interests of Mr. Hardwick and the proposed class are identical.

        This first requirement brings no new analysis. Instead, “[t]he common interest

 requirement overlaps with the commonality and typicality requirements.” Cmty. Refugee, 334

 F.R.D. at 505. Just like those requirements, the “common interest” requires that the named

 plaintiff and “the class members have interests that are not antagonistic to one another.” Id.

 (quoting In re Dry Max Pampers Litig., 724 F.3d 713, 721 (6th Cir. 2013)). This requirement is

 satisfied if “there is no indication of a conflict of interest.” Beattie, 511 F.3d at 563. For

 example, a “common interest” exists when the named plaintiff and the class all “suffered the

 same injury.” Id. In such a situation, “there is every reason to believe that [the plaintiff] will

 vigorously prosecute the interests of the class.” Id.

        This is the exact situation here. As explained above, Mr. Hardwick and the proposed

 class share the same legal claims that arise from the same tortious conduct by Defendants. They

 also share the same goal: common, uniform, class-wide injunctive and equitable relief in the

 form of studies, testing, analysis, and monitoring—not money damages for any personal injuries,

 property damage, or other relief that could vary among the individual class members. (See First

 Am. Compl., [ECF No. 96] at PageID #590–91, ¶¶ 131–33.) This is enough to satisfy the

 “common interest” requirement. See Beattie, 511 F.3d at 563; see also 7A Wright & Miller, Fed.

 Prac. & Proc. Civ. § 1769 (3d ed. 2019) (“[T]he representatives and the class members must

 share common objectives and legal or factual positions to establish adequacy of

 representation.”).

                2.      Counsel will vigorously prosecute the proposed class.

        Rule 23(a)(4) also requires qualified counsel that will protect the interests of the class.

 See Cmty. Refugee, 334 F.R.D. at 506. This means that “the class attorney must be qualified,




                                                   46
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 59 of 68 PAGEID #: 1539




 experienced and generally able to conduct the proposed litigation.” Wright & Miller, supra,

 § 1769.1 (internal quotation marks omitted). This Court recognizes that class counsel “must

 have sufficient financial and personal involvement to encourage them to prosecute the action

 vigorously, and adequate resources and legal representation to meet the demands of maintaining

 the action.” Cmty. Refugee, 334 F.R.D. at 506.

        The proposed class counsel checks all these boxes. Mr. Hardwick asks the Court to

 appoint the undersigned lawyers, with the law firms of Taft Stettinius & Hollister LLP, Douglas

 & London, PC, and Levin Papantonio PA, as class counsel. Such counsel are on the plaintiffs’

 steering committee in the DuPont C8 MDL pending before this Court (involving much of the

 same tortious conduct). Indeed, Mr. Bilott and Mr. London are Co-Lead Counsel of that steering

 committee. Each attorney also has many years of experience litigating complex mass torts—

 including PFAS-related litigation.16 And all of these law firms have invested significant time

 and resources in the C8 MDL (which led to a $671 million settlement of about 3,600 claims).

 These same attorneys and law firms also currently serve in top leadership positions, including

 Co-Lead Counsel, Advisory Counsel, and Co-Chairs of various key committees, in the

 nationwide AFFF MDL pending in federal court in South Carolina involving claims related to

 PFAS-based firefighting foams, in which all of these defendants also are parties. The Taft firm

 also served as class counsel for tens of thousands of people in the first PFAS exposure cases in

 West Virginia (which generated the C8 Science Panel and the C8 Medical Panel), and class



 16
    See also Robert A. Bilott, TAFT LAW, https://www.taftlaw.com/people/robert-a-bilott (last
 visited July 27, 2020); David J. Butler, TAFT LAW, https://www.taftlaw.com/people/david-j-
 butler (last visited July 30, 2020); Gary J. Douglas, DOUGLAS & LONDON,
 https://www.douglasandlondon.com/attorneys/gary-j-douglas/ (last visited July 30, 2020); Ned
 McWilliams, LEVIN PAPANTONIO PA, https://www.levinlaw.com/attorney-profiles/ned-
 mcwilliams (last visited July 27, 2020).


                                                  47
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 60 of 68 PAGEID #: 1540




 counsel for thousands of people in New Jersey exposed to PFAS. (See Affidavits of Proposed

 Class Counsel (attached as Exs. J–L); see also Bilott Decl., Ex. C, ¶¶ 2–16.) All of these firms

 are currently helping a variety of parties all across the country, including individuals, water

 providers, and states—who have been negatively impacted by Defendants’ PFAS. These firms

 are committed to doing the same in this class action. And these attorneys have spent their

 careers litigating these type of claims. Mr. Hardwick’s attorneys will prosecute this action

 vigorously and competently.

         As a result, the requirements of Rule 23(a)(4) are satisfied because Mr. Hardwick will

 fairly and adequately represent the interests of the class—and the four factors in Rule 23(a) are

 also satisfied. Mr. Hardwick respectfully requests, therefore, that the Court appoint the

 undersigned attorneys as class counsel for the proposed class.

 II.     The Proposed Class Meets the Requirements of Rule 23(b)(2).

         If a proposed class meets the requirements in Rule 23(a), a district court may certify a

 class if it also meets “at least one of the subcategories of Rule 23(b).” In re Am. Med. Sys., 75

 F.3d at 1079. Rule 23(b)(2) permits class certification when “the party opposing the class has

 acted or refused to act on grounds that apply generally to the class, so that final injunctive relief

 or corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ.

 P. 23(b)(2). In other words, “[t]he key to the (b)(2) class is the indivisible nature of the

 injunctive or declaratory remedy.” Cmty. Refugee, 334 F.R.D. at 507 (quoting Dukes, 564 U.S.

 at 360).

       This type of “mandatory” class under Rule 23(b)(2) means that the alleged wrongful

 conduct “is such that it can be enjoined or declared unlawful only as to all of the class members

 or as to none of them.” Id. (quoting Dukes, 564 U.S. at 360). Put differently, the class claim “is




                                                   48
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 61 of 68 PAGEID #: 1541




 susceptible to a single proof and subject to a single injunctive remedy.” Senter, 532 F.2d at 525.

 Class actions “will usually satisfy this requirement” when the proposed class seeks “to define the

 relationship between the defendant and the ‘world at large.’” Sullivan v. DB Invs., Inc., 667 F.3d

 273, 317 (3d Cir. 2011) (citation omitted), accord Huguley v. Gen. Motors Corp., 925 F.2d 1464

 (6th Cir. 1991) (table) (citing Laskey v. United Auto. Workers, 638 F.2d 954, 956 (6th Cir. 1981)

 (“[C]ourts should generally certify classes pursuant to 23(b)(2) when the class members are

 seeking injunctive relief[.]”)).

         The proposed class meets this standard and falls squarely within Rule 23(b)(2). Mr.

 Hardwick and the proposed class ask for injunctive and equitable/declaratory relief only, which

 would provide equal relief to every member of the class. (See First Am. Compl., [ECF No. 96]

 at PageID #590–91, ¶¶ 130–33.) As explained above, Defendants treated Mr. Hardwick no

 different than every other potential class member: they contaminated everyone with equal

 impunity. But despite this, Mr. Hardwick and the proposed class ask the Court for no

 compensatory damages. Instead, they just want the Court to declare Defendants’ relationship

 between PFAS and the “world at large”—i.e., that Defendants’ PFAS materials are dangerous

 and can cause human disease and that Defendants are responsible for releasing that harm upon

 the class—and to order appropriate monitoring, testing, and scientific studies with respect to

 such dangers. (See id. at PageID #576–77, ¶¶ 63–67.)

         More specifically, Mr. Hardwick and the proposed class want the court to order the

 creation and funding of a program to design, implement, and administer appropriate medical and

 scientific studies, testing, and analysis for Mr. Hardwick and all the potential class members,

 which are necessitated by the contamination of their blood and bodies by Defendants’ PFAS.

 This program would be overseen by the Court and encompass nationwide medical and




                                                 49
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 62 of 68 PAGEID #: 1542




 epidemiological studies focused on studying, evaluating, reviewing, identifying, publishing, and

 notifying Mr. Hardwick and the class of the causal connection(s) between any single or

 combination of PFAS in human blood and bodies and any injury, human disease, adverse human

 health impacts, or other health risks.

          As a result, if Mr. Hardwick prevails and the requested equitable/injunctive relief is

 ordered, the scientific monitoring and analysis program would be designed to benefit the entire

 class simultaneously. Of course, the opposite could also be true (if the Court ultimately agrees

 with Defendants on the merits and decides that no such relief is appropriate). But either way, the

 relief either applies to everyone—or no one. That is the quintessential characteristic of a Rule

 23(b)(2) class. See Senter, 532 F.2d at 525. Thus, because the proposed class satisfies the

 requirements in Rule 23(a) and Rule 23(b)(2), Mr. Hardwick respectfully requests that the Court

 certify the class and appoint his proposed class counsel.

 III.     The Court Has Jurisdiction Over Unnamed, Non-Ohio Class Members.

          There are no jurisdictional concerns for this proposed nationwide class action. In their

 motions to dismiss, Defendants argued that the Court lacks specific jurisdiction over non-Ohio

 class members. (See, e.g., Archroma Mgmt.’s Mot. to Dismiss, [ECF No. 69] at PageID #322;

 3M Co.’s Mot. to Dismiss, [ECF No. 68] at PageID #302–05.) Although the Court denied the

 motions to dismiss, it “decline[d] Defendants’ invitation to determine whether this Court has

 jurisdiction over non-Ohio putative class members.” (Op. & Order, [ECF No. 128] at PageID

 #857.)

          In response to this motion for class certification, however, Defendants are likely to raise

 the same argument, which centered on the Supreme Court’s decision in Bristol-Myers Squibb

 Co. v. Superior Court, 137 S. Ct. 1773 (2017) (“BMS”). BMS addressed CAFA’s new mass




                                                   50
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 63 of 68 PAGEID #: 1543




 action procedure and determined that state courts lack specific jurisdiction over nonresident

 plaintiffs who did not suffer any harm in that state. 137 S. Ct. at 1782. Defendants ask the Court

 to expand BMS to reach the long-established class action procedure under Federal Rule 23 and

 dismiss all non-Ohio class members.

        Defendants are wrong about BMS. Mr. Hardwick explained why BMS does not apply in

 his response to Defendants’ motions to dismiss. (Plaintiff’s Combined Mem. in Opp., [ECF No.

 94] at PageID #552–55.) To start, BMS addressed personal jurisdiction over individual named

 plaintiffs who brought a mass action in California state court. It did not address federal

 jurisdiction over absent, unnamed class members in federal court. BMS, 137 S. Ct. at 1778.

 BMS also said nothing about two critical issues here: (1) whether specific jurisdiction in a

 Rule 23 class action is determined by reference to the absent class members (it is not), or

 (2) whether Rule 23 provides enough due process safeguards for defendants in class action

 litigation (it does). (See ECF No. 94 at PageID #554 (explaining that “class actions possess

 additional due process safeguards not applicable in mass tort actions.”).) With these major

 differences, Mr. Hardwick clarified that most courts have declined to extend the holding of BMS

 to class actions. (Id. at PageID #553.) Simply put, class actions are not mass actions. The Court

 can reject Defendants’ nonresident-jurisdictional arguments for this reason alone.

        But Defendants’ arguments about BMS were also misleading. For example, DuPont

 argued that “[w]hile Bristol-Myers Squibb was a mass tort action, courts consistently apply

 Bristol-Myers Squibb to dismiss for lack of specific jurisdiction claims brought on behalf of out-

 of-state putative class members regardless of the nature of the claims.” (DuPont’s Mot. to

 Dismiss, [ECF No. 73] at PageID #367 n.2.) This is simply not true. Instead, “a significant

 supermajority of cases—fifty of the sixty-four rulings on the issue from June 2017 through




                                                 51
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 64 of 68 PAGEID #: 1544




 September 2019, and four out of every five judges—have rejected the argument that Bristol-

 Myers Squibb constrains court’s jurisdiction over defendants with respect to unnamed class

 members.” Daniel Wilf-Townsend, Did Bristol-Myers Squibb Kill the Nationwide Class Action,

 129 Yale L.J. Forum 205, 205 (2019); id. at 229 (providing a table cataloging all cases

 discussing the application of Bristol-Myers Squibb to unnamed out-of-state class members). So a

 clear result has emerged post-BMS: “a strong supermajority of the federal district court judges

 who have considered the issue have ruled in favor of letting class actions proceed largely as they

 did before BMS.” Id. at 226.

        And since the motion to dismiss briefing (and the publication of Wilf-Townsend’s

 survey), Mr. Hardwick’s positon has become even stronger—while Defendants lost the last

 foothold in their BMS argument. Defendants relied mainly on cases out of the Northern District

 of Illinois to support their BMS interpretation. (See DuPont’s Mot. to Dismiss, [ECF No. 73] at

 PageID #367 n.2 (two of four cases from N.D. Ill.); Solvay Specialty Polymers USA Mot. to

 Dismiss, [ECF No. 71] at PageID #341–42 (five of seven cases from N.D. Ill.); Archroma

 Mgmt.’s Mot. to Dismiss, [ECF No. 69] at PageID #322 (only case from N.D. Ill.).) To be fair,

 this was no surprise. Of the fourteen cases that have extended BMS to block jurisdiction over

 nonresident class members, “eleven came from the Northern District of Illinois, and four were

 from the same judge, Judge Harry Leinenweber.” Wilf-Townsend, supra, at 213. In fact, the

 Northern District of Illinois was the only district in the country that unanimously applied BMS to

 class actions. Id. (explaining that twenty districts were unanimous in not applying BMS to class

 actions—and two districts were split on the issue).

        The Seventh Circuit recently reversed the Northern District of Illinois. Mussat v. IQVIA,

 Inc., 953 F.3d 441 (7th Cir. 2020). The Seventh Circuit’s decision is significant for at least four




                                                 52
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 65 of 68 PAGEID #: 1545




 reasons. It is the first federal court of appeals to address whether BMS applies to class actions, it

 answered the question head on, and it was unanimous. Id. at 445–48. The decision is also

 significant because it leaves just three stray cases—out of more than sixty—that support

 Defendants’ argument.

        The Seventh Circuit explained that “[c]lass actions, in short, are different from many

 other types of aggregate litigation, and that difference matters in numerous ways for the

 unnamed members of the class.” Id. at 446–47. And so, the court “[saw] no reason why

 personal jurisdiction should be treated any differently from subject-matter jurisdiction and

 venue.” Id. at 447. For both of those issues, courts have never considered the status of absent

 class members. Id. (concluding that unnamed class members need not show general or specific

 personal jurisdiction). The Seventh Circuit also rejected arguments that Rule 4(k) or due process

 concerns required a different result. See id. at 447–48 (quoting BMS, 137 S. Ct. at 1784). The

 Seventh Circuit denied the defendants’ request to hear the case en banc. Mussat v. IQVIA, Inc.,

 No. 19-1204 (May 12, 2020).

        This Court should apply the Seventh Circuit’s reasoning in Mussat and join the “strong

 supermajority” (and now near unanimity) of district courts that refuse to apply BMS to class

 actions. In fact, this Court recently did just that, explaining that it “is persuaded by the reasoning

 in the Seventh Circuit’s recent decision in Mussat.” Progressive Health & Rehab Corp. v.

 Medcare Staffing, Inc., No. 2:19-cv-710, 2020 WL 3050185, at *3–5 (S.D. Ohio June 8, 2020)

 (attached as Ex. F.). So just as the Seventh Circuit and this Court have both said, the unnamed

 class members need not show either general or specific jurisdiction.17 Id. at *4–5 (analyzing



 17
   Other courts around the country have also quickly adopted the Seventh Circuit’s reasoning.
 See, e.g., Munsell v. Colgate-Palmolive Co., No. CV 19-12512-NMG, 2020 WL 2561012, at *8
 (D. Mass. May 20, 2020) (attached as Ex. G); Murphy v. Aaron’s, Inc., No. 19-CV-00601, 2020


                                                  53
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 66 of 68 PAGEID #: 1546




 Mussat). As a result, this Court’s decision explaining that Mr. Hardwick established personal

 jurisdiction over each Defendant remains all that the Court needs to do. (Op. & Order, [ECF No.

 128] at PageID #866.) There are no additional concerns about jurisdiction.

                                          CONCLUSION

        The proposed class satisfies the requirements of Rule 23(a) and Rule 23(b)(2). As a

 result, Mr. Hardwick respectfully requests that the Court certify a nationwide class of “any

 individual residing within the United States at the time of class certification for one year or more

 since 1977 with at least 0.05 parts per trillion (ppt) of PFOA and at least 0.05 ppt or more of any

 other PFAS chemical in their blood serum” to pursue the common claims of the class for

 equitable, injunctive, and declaratory relief. Mr. Hardwick also respectfully requests that the

 Court appoint the undersigned counsel, from the law firms of Taft Stettinius & Hollister LLP,

 Douglas & London, PC, and Levin Papantonio PA, as class counsel.




 WL 2079188, at *12 (D. Colo. Apr. 30, 2020) (attached as Ex. H); Lacy v. Comcast Cable
 Commc’ns, LLC, No. 3:19-CV-05007, 2020 WL 1469621, at *2 (W.D. Wash. Mar. 26, 2020)
 (attached as Ex. I).


                                                  54
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 67 of 68 PAGEID #: 1547




                                             Respectfully submitted,

                                             /s/ David J. Butler
                                             David J. Butler (0068455), Trial Attorney
                                             TAFT STETTINIUS & HOLLISTER LLP
                                             65 East State Street, Suite 1000
                                             Columbus, Ohio 43215
                                             Telephone: (614) 221-2838
                                             Facsimile: (614) 221-2007
                                             dbutler@taftlaw.com

                                             Robert A. Bilott (0046854)
                                             TAFT STETTINIUS & HOLLISTER LLP
                                             425 Walnut Street, Suite 1800
                                             Cincinnati, OH 45202-3957
                                             Telephone: (513) 381-2838
                                             Facsimile: (513) 381-0205
                                             bilott@taftlaw.com

                                             Gary J. Douglas (pro hac vice pending)
                                             DOUGLAS & LONDON, PC
                                             59 Maiden Lane, 6th Floor
                                             New York, NY 10038
                                             Telephone: (212) 566-7500
                                             Facsimile: (212) 566 7501
                                             gdouglas@douglasandlondon.com

                                             Ned McWilliams (pro hac vice)
                                             LEVIN PAPANTONIO P.A.
                                             316 South Baylen Street
                                             Pensacola, FL 32502
                                             Telephone: (850) 435-7138
                                             nmcwilliams@levinlaw.com

                                             Attorneys for Plaintiff Kevin Hardwick




                                        55
Case: 2:18-cv-01185-EAS-EPD Doc #: 164 Filed: 07/31/20 Page: 68 of 68 PAGEID #: 1548




                                  CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the above was served through the Court’s CM/ECF

 system this 31st day of July, 2020, on all counsel of record.


                                                                 /s/ David J. Butler




                                                 56
